                Case 20-71589-pwb                      Doc 1           Filed 11/10/20 Entered 11/10/20 14:52:45                              Desc
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     Fill in this information to identify your case:

     United States Bankruptcy Court for the:

                   District of                                                                             !fp/        0      r-In
                                                                                                                              r 11
     Case number (If known):                                         Chapter you are filing under:
                                                                     G6 Chapter 7
                                                                     CI Chapter 11
                                                                                                     ny
      20-71589
                                                                     CI Chapter 12
                                                                     Ci Chapter 13                                                     Check if this is an
                                                                                                                                       amended filing



    Official Form 101
    Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 04/20

    The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
    joint case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car,"
    the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and
    Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The
    same person must be Debtor 1 in all of the forms.
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
    (if known). Answer every question.


    Part 1:     Identify Yourself

                                        About Debtor 1:                                                   About Debtor 2 (Spouse Only in a Joint Case):
    .1. Your full name
1
       Write the name that is on your
                                        Randy
       government-issued picture
       identification (for example,     First name                                                        First name
       your driver's license or         Jason
       passport).                       Middle name                                                       Middle name
       Bring your picture                Adams
       identification to your meeting   Last name                                                         Last name
       with the trustee.
                                        Suffix (Sr., Jr., II, Ill)                                        Suffix (Sr., Jr., II, Ill)




    2. All other names you
       have used in the last 8          First name                                                        First name
       years
       Include your married or          Middle name                                                       Middle name
       maiden names.
                                        Last name                                                         Last name


                                        First name                                                        First name

                                        Middle name                                                       Middle name

                                        Last name                                                         Last name




I 3. Only the last 4 digits of
       your Social Security             XXX      — xx—                     2      1      3                XXX      — XX —
       number or federal                OR                                                                OR
       Individual Taxpayer
       Identification number            9 xx — xx                                                         9 xx — xx —
       (ITIN)

    Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                   page 1
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Debtor 1    Randy         Jason                     Adams                                        Case number of known)
             First Name   Middle Name                Last Name




                                        About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):


4. Any business names
   and Employer                         10 I have not used any business names or EINs.                 0 I have not used any business names or EINs.
   Identification Numbers
   (EIN) you have used in
   the last 8 years                     Business name                                                  Business name
   Include trade names and
   doing business as names
                                        Business name                                                  Business name



                                        EIN                                                            EIN


                                        EIN                                                            EIN




 . Where you live                                                                                      If Debtor 2 lives at a different address:


                                        9576 Briarcreek Lane
                                        Number   Street                                                Number          Street




                                        Jonesboro                            GA        30238
                                        City                                 State    ZIP Code         City                                     State    ZIP Code

                                        Clayton
                                        County                                                         County

                                        If your mailing address is different from the one              If Debtor 2's mailing address is different from
                                        above, fill it in here. Note that the court will send          yours, fill it in here. Note that the court will send
                                        any notices to you at this mailing address.                    any notices to this mailing address.



                                        Number          Street                                         Number          Street


                                        P.O. Box                                                       P.O. Box


                                        City                                 State    ZIP Code         City                                    State     ZIP Code



6. Why you are choosing                 Check one:                                                    Check one:
   this district to file for
   bankruptcy                           id Over the last 180 days before filing this petition,         0 Over the last 180 days before filing this petition,
                                           I have lived in this district longer than in any                  I have lived in this district longer than in any
                                           other district.                                                   other district.

                                        0 I have another reason. Explain.                                    I have another reason. Explain.
                                               (See 28 U.S.C. § 1408.)                                       (See 28 U.S.C. § 1408.)




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Debtor 1     Randy        Jason                     Adams                                       Case number (if known)
             First Name   Middle Name               Last
                                                       Name




Part 2:    Tell the Court About Your Bankruptcy Case


7. The chapter of the                   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
   Bankruptcy Code you                  for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
   are choosing to file
                                        O Chapter 7
   under
                                        O Chapter 11

                                        O Chapter 12

                                        O Chapter 13


8. How you will pay the fee             0 I will pay the entire fee when I file my petition. Please check with the clerk's office in your
                                             local court for more details about how you may pay. Typically, if you are paying the fee
                                             yourself, you may pay with cash, cashier's check, or money order. If your attorney is
                                             submitting your payment on your behalf, your attorney may pay with a credit card or check
                                             with a pre-printed address.

                                        0 I need to pay the fee in installments. If you choose this option, sign and attach the
                                             Application for Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                        O I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                          By law, a judge may, but is not required to, waive your fee, and may do so only if your income is
                                          less than 150% of the official poverty line that applies to your family size and you are unable to
                                          pay the fee in installments). If you choose this option, you must fill out the Application to Have the
                                          Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.


9. Have you filed for                   0 No
   bankruptcy within the
                                        121 Yes.    District   NDGA                     When    06/10/2012          Case number    12-65151
   last 8 years?
                                                                                               MM/ DD / YYYY

                                                    District                            When                        Case number ,
                                                                                               MM/ DD / YYYY

                                                    District                            When                        Case number
                                                                                               MM / DD / YYYY




    Are any bankruptcy                  •    No
    cases pending or being
    filed by a spouse who is                 Yes.   Debtor                                                          Relationship to you
    not filing this case with                       District                            When                        Case number, if known
    you, or by a business                                                                       MM/DD / YYYY
    partner, or by an
    affiliate?
                                                    Debtor                                                          Relationship to you

                                                    District                            When                        Case number, if known
                                                                                                MM / DD / YYYY



it Do you rent your                     el   No.    Go to line 12.
   residence?                           0 Yes.      Has your landlord obtained an eviction judgment against you?
                                                    O No. Go to line 12.
                                                    O Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as
                                                      part of this bankruptcy petition.




  Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                  page 3
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Debtor 1      Randy          Jason                 Adams                                          Case number (ilknown)
             First Name    Middle Name             Lam Name




Part 3:    Report About Any Businesses You Own as a Sole Proprietor


12. Are you a sole proprietor            121 No. Go to Part 4.
    of any full- or part-time
    business?                            0 Yes. Name and location of business
   A sole proprietorship is a
   business you operate as an
   individual, and is not a                       Name of business, if any
   separate legal entity such as
   a corporation, partnership, or
   LLC.                                           Number      Street
   If you have more than one
   sole proprietorship, use a
   separate sheet and attach it
   to this petition.
                                                   City                                                   State           ZIP Code


                                                  Check the appropriate box to describe your business:
                                                  O Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                  O Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                  O Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                  CI   Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                  El None of the above


13. Are you filing under                 If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor
    Chapter 11 of the                    choosing to proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you
    Bankruptcy Code, and                 are a small business debtor or you are choosing to proceed under Subchapter V, you must attach your
    are you a small business             most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return or
                                         if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor or a debtor as
    defined by 11 U.S. C. §                  No. I am not filing under Chapter 11.
    1182(1)?                             0 No.    I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small                     the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).                0 Yes. I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy
                                                  Code, and I do not choose to proceed under Subchapter V of Chapter 11.
                                         0 Yes.   I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the
                                                  Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.




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Debtor 1      Randy          Jason               Adams                                        Case number of known)
              First Name    Middle Name          Last Name




             Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


 14. Do you own or have any               0 No
     property that poses or is
     alleged to pose a threat               Yes. What is the hazard?
     of imminent and
     identifiable hazard to
     public health or safety?
     Or do you own any
     property that needs
                                                  If immediate attention is needed, why is it needed?
     immediate attention?
     For example, do you own
     perishable goods, or livestock
     that must be fed, or a building
     that needs urgent repairs?
                                                  Where is the property?
                                                                           Number        Street




                                                                           City                                       State   ZIP Code




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Debtor 1       Randy
              First Name
                              Jason                  Adams                                              Case number (irknown)
                             Middle Name             Last Name




Part 5:     Explain Your Efforts to Receive a Briefing About Credit Counseling

                                                                                                              About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether
    you have received a
    briefing about credit                  You must cneck one:                                                 You must check one:
    counseling.
                                              I received a briefing from an approved credit                    U I received a briefing from an approved credit
                                              counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    The law requires that you                 filed this bankruptcy petition, and I received a                   filed this bankruptcy petition, and I received a
    receive a briefing about credit           certificate of completion.                                         certificate of completion.
    counseling before you file for
                                              Attach a copy of the certificate and the payment                     Attach a copy of the certificate and the payment
    bankruptcy. You must
                                              plan, if any, that you developed with the agency.                    plan, if any, that you developed with the agency.
    truthfully check one of the
    following choices. If you
                                              I received a briefing from an approved credit                    U I received a briefing from an approved credit
    cannot do so, you are not
                                              counseling agency within the 180 days before I                     counseling agency within the 180 days before I
    eligible to file.
                                              filed this bankruptcy petition, but I do not have a                filed this bankruptcy petition, but I do not have a
                                              certificate of completion.                                         certificate of completion.
   If you file anyway, the court
                                              Within 14 days after you file this bankruptcy petition,              Within 14 days after you file this bankruptcy petition,
   can dismiss your case, you
                                              you MUST file a copy of the certificate and payment                  you MUST file a copy of the certificate and payment
   will lose whatever filing fee
                                              plan, if any.                                                        plan, if any.
   you paid, and your creditors
   can begin collection activities            I certify that I asked for credit counseling                     U I certify that I asked for credit counseling
   again.                                     services from an approved agency, but was                          services from an approved agency, but was
                                              unable to obtain those services during the 7                       unable to obtain those services during the 7
                                              days after I made my request, and exigent                          days after I made my request, and exigent
                                              circumstances merit a 30-day temporary waiver                      circumstances merit a 30-day temporary waiver
                                              of the requirement.                                                of the requirement.
                                              To ask for a 30-day temporary waiver of the                          To ask for a 30-day temporary waiver of the
                                              requirement, attach a separate sheet explaining                      requirement, attach a separate sheet explaining
                                              what efforts you made to obtain the briefing, why                    what efforts you made to obtain the briefing, why
                                              you were unable to obtain it before you filed for                    you were unable to obtain it before you filed for
                                              bankruptcy, and what exigent circumstances                           bankruptcy, and what exigent circumstances
                                              required you to file this case.                                      required you to file this case.
                                              Your case may be dismissed if the court is                           Your case may be dismissed if the court is
                                              dissatisfied with your reasons for not receiving a                   dissatisfied with your reasons for not receiving a
                                              briefing before you filed for bankruptcy.                            briefing before you filed for bankruptcy.
                                              If the court is satisfied with your reasons, you must                If the court is satisfied with your reasons, you must
                                              still receive a briefing within 30 days after you file.              still receive a briefing within 30 days after you file.
                                              You must file a certificate from the approved                        You must file a certificate from the approved
                                              agency, along with a copy of the payment plan you                    agency, along with a copy of the payment plan you
                                              developed, if any. If you do not do so, your case                    developed, if any. If you do not do so, your case
                                              may be dismissed.                                                    may be dismissed.
                                              Any extension of the 30-day deadline is granted                      Any extension of the 30-day deadline is granted
                                              only for cause and is limited to a maximum of 15                     only for cause and is limited to a maximum of 15
                                              days.                                                                days.

                                           U I am not required to receive a briefing about                     U I am not required to receive a briefing about
                                              credit counseling because of:                                      credit counseling because of:

                                              D Incapacity.      I have a mental illness or a mental               U Incapacity.      I have a mental illness or a mental
                                                                 deficiency that makes me                                             deficiency that makes me
                                                                 incapable of realizing or making                                     incapable of realizing or making
                                                                 rational decisions about finances.                                   rational decisions about finances.
                                              U Disability.      My physical disability causes me                  •   Disability.    My physical disability causes me
                                                                 to be unable to participate in a                                     to be unable to participate in a
                                                                 briefing in person, by phone, or                                     briefing in person, by phone, or
                                                                 through the internet, even after I                                   through the internet, even after I
                                                                 reasonably tried to do so.                                           reasonably tried to do so.
                                              O Active duty. I am currently on active military                     U Active duty. I am currently on active military
                                                                 duty in a military combat zone.                                      duty in a military combat zone.
                                              If you believe you are not required to receive a                     If you believe you are not required to receive a
                                              briefing about credit counseling, you must file a                    briefing about credit counseling, you must file a
                                              motion for waiver of credit counseling with the court.               motion for waiver of credit counseling with the court.




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 Debtor 1      Randy         Jason                   Adams                                           Case number (,f known)
              First Name    Middle Name             Last Name




 Part 6:    Answer These Questions for Reporting Purposes

                                          16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
• 18. What kind of debts do                    as "incurred by an individual primarily for a personal, family, or household purpose."
      you have?
                                               O No. Go to line 16b.
                                               O Yes. Go to line 17.
                                          16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                               money for a business or investment or through the operation of the business or investment.
                                               O No. Go to line 16c.
                                               • Yes. Go to line 17.

                                          16c. State the type of debts you owe that are not consumer debts or business debts.



 17. Are you filing under
     Chapter 7?                           O No. I am not filing under Chapter 7. Go to line 18.

     Do you estimate that after 0 Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
     any exempt property is            administrative expenses are paid that funds will be available to distribute to unsecured creditors?
     excluded and                      0 No
     administrative expenses
     are paid that funds will be       0 Yes
     available for distribution
     to unsecured creditors?

 18. How many creditors do                0   1-49                                 O 1,000-5,000                              0 25,001-50,000
     you estimate that you                O   50-99                                O 5,001-10,000                             O 50,001-100,000
     owe?                                 O   100-199                              O 10,001-25,000                            O More than 100,000
                                          O   200-999

 19. How much do you                          $0-$50,000                             $1,000,001-$10 million                        $500,000,001-$1 billion
     estimate your assets to                  $50,001-$100,000                       $10,000,001-$50 million                       $1,000,000,001-$10 billion
     be worth?                                $100,001-$500,000                      $50,000,001-$100 million                      $10,000,000,001-$50 billion
                                              $500,001-$1 million                    $100,000,001-$500 million                CI   More than $50 billion

 20. How much do you                          $0-$50,000                             $1,000,001-$10 million                   0 $500,000,001-$1 billion
     estimate your liabilities                $50,001-$100,000                       $10,000,001-$50 million                       $1,000,000,001-$10 billion
     to be?                                   $100,001-$500,000                      $50,000,001-$100 million                      $10,000,000,001-$50 billion
                                              $500,001-$1 million                    $100,000,001-$500 million                0    More than $50 billion
 Part, 7:   Sign Below

                                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and
 For you                                  correct.
                                          If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13
                                          of title 11, United States Code. I understand the relief available under each chapter, and I choose to proceed
                                          under Chart's' 7.
                                          If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out
                                          this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).
                                          I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                          I understand making a false statement, concealing property, or obtaining money or property by fraud in connection
                                          with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
                                          18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                              Signature of De1btr 1                                           Signature of Debtor 2

                                              Executed on                                                     Executed on
                                                                MM   / DD / YYYY                                              MM / DD     / YYYY


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Debtor 1     Randy         Jason                 Adams                                      Case number (if known)
             First Name   Middle Name            Last Name




For you if you are filing this          The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an                   shoula understand that many people find it extremely difficult to represent
attorney                                themselves successfully. Because bankruptcy has long-term financial and legal
                                        consequences, you are strongly urged to hire a qualified attorney.
If you are represented by
an attorney, you do not                 To be successful, you must correctly file and handle your bankruptcy case. The rules are very
need to file this page.                 technical, and a mistake or inaction may affect your rights. For example, your case may be
                                        dismissed because you did not file a required document, pay a fee on time, attend a meeting or
                                        hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
                                        firm if your case is selected for audit. If that happens, you could lose your right to file another
                                        case, or you may lose protections, including the benefit of the automatic stay.

                                        You must list all your property and debts in the schedules that you are required to file with the
                                        court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
                                        in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
                                        property or properly claim it as exempt, you may not be.able to keep the property. The judge can
                                        also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
                                        case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
                                        cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
                                        Bankruptcy fraud is a serious crime; you could be fined and imprisoned.

                                        If you decide to file without an attorney, the court expects you to follow the rules as if you had
                                        hired an attorney. The court will not treat you differently because you are filing for yourself. To be
                                        successful, you must be familiar with the United States Bankruptcy Code, the Federal Rules of
                                        Bankruptcy Procedure, and the local rules of the court in which your case is filed. You must also
                                        be familiar with any state exemption laws that apply.

                                        Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
                                        consequences?
                                        •     No
                                        O Yes

                                        Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
                                        inaccurate or incomplete, you could be fined or imprisoned?
                                        CI No
                                        O Yes

                                        Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?
                                        U No
                                        IA Yes. Name of Person Jeffery Favors
                                                Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).



                                        By signing here, I acknowledge that I understand the risks involved in filing without an attorney. I
                                        have read and understood this notice, and I am aware that filing a bankruptcy case without an
                                        attorney may cause me to lose my rights or property if I do not properly handle the case.



                                                                                                x
                                            Signature of D&blAr 1                                     Signature of Debtor 2

                                        Date                                                          Date
                                                             MM/DD   / YYYY                                            MM/    DD / YYYY

                                        Contact phone        (718) 314-9668                           Contact phone

                                        Cell phone                                                    Cell phone

                                        Email address                                                 Email address

      amormour                          MEM2E,MIRMERMINMEMMORENIRMIPMENREMMEEED                        IMMURROMM140.,...

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   Fill in this information to identify your case:


   Debtor 1             Randy                 Jason               Adams
                        First Name                     . Middle Name           Last Name

   Debtor 2
   (Spouse, if filing) First Name                       Middle Name              Last Name


   United States Bankruptcy Court for the: Northern District of Georgia

   Case number
    (If known)                                                                                                                              CI Check if this is an
                                                                                                                                               amended filing




 Official Form 107
 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                          04/19

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
 number (if known). Answer every question.


 I:II              Give Details About Your Marital Status and Where You Lived Before


   1. What is your current marital status?

        U Married
        VI Not married


   2. During the last 3 years, have you lived anywhere other than where you live now?

        af No
        0 Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
                 Debtor 1:                                                Dates Debtor 1                                                         Dates Debtor 2
                                                                          lived there                                                            lived there


                                                                                             0 Same as Debtor 1                                 0   Same as Debtor 1

                                                                          From                                                                      From
                 Number              Street                                                     Number Street
                                                                          To                                                                        To



                 City                                 State ZIP Code                            City                     State ZIP Code

                                                                                             0 Same as Debtor 1                                 0 Same as Debtor 1
                                                                          From                                                                      From
                 Number              Street                                                     Number Street
                                                                          To                                                                        To



                 City                                 State ZIP Code                            City                     State   ZIP Code


   3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
      states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        Li No
        Gil Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




   Part 2: Explain the Sources of Your Income

Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                         page 1
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Debtor 1        Randy         Jason                Adams                                             Case number of known)
                First Name    Middle Name          Last Name




 4. Did you have any Income from employment or from operating a business during this year or the two previous calendar years?
    Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
    If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

     Li No
     121 Yes. Fill in the details.



                                                          Sources of income           Gross income             Sources of Income         Gross income
                                                          Check all that apply.       (before deductions and   Check all that apply.     (before deductions and
                                                                                      exclusions)                                        exclusions)

           From January 1 of current year until           RI Wages, commissions,                               O Wages, commissions,
                                                             bonuses, tips                         424.00        bonuses, tips
           the date you filed for bankruptcy:
                                                          O Operating a business                               O Operating a business
                                                                           ,

           For last calendar year:                        21 Wages, commissions,                               O Wages, commissions,
                                                             bonuses, tips                             0.00       bonuses, tips
           (January 1 to December 31,2019
                                            YYYY
                                                          O Operating a business                               CI Operating a business

           For the calendar year before that:                  Wages, commissions,                             O Wages, commissions
                                                               bonuses, tips                                     bonuses, tips
                                                                                               25,000.00
           (January1 to December 31,2018                  0    Operating a business                            O Operating a business
                                            YYYY




 5. Did you receive any other income during this year or the two previous calendar years?
    Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
    unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
    gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     LI    No
     IW Yes. Fill in the details.



                                                          Sources of income           Gross Income from         Sources of income        Gross income from
                                                          Describe below.             each source               Describe below.          each scarce
                                                                                      (before deductions and                             (before deductions and
                                                                                      exclusions)                                        exclusions)



            From January 1 of current year until
                                                         P A                                  11,500.00
            the date you filed for bankruptcy:




            For last calendar year:
            (January Ito December 31,2019          )
                                            YYYY




            For the calendar year before that:
            (January 1 to December 31 2018         )
                                            YYYY




Official Form 107                              Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 2
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Debtor 1    Randy                Jason                Adams                                       Case number Of known)
             First Name         Middle Name           Last Name




1:101       1 1st Certain Payments You Made Before You Filed for Bankruptcy
                                             .


 S. Are either Debtor l's or Debtor 2's debts primarily consumer debts?

     LI No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
             "incurred by an individual primarily for a personal, family, or household purpose."
             During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

             LI No. Go to line 7.
             LI Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
                            total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                            child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
             *Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

     id Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
             During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

             U No. Go to line 7.

                    Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                       Dates of     Total amount paid         Amount you still owe   Was this payment for...
                                                                       payment

                     Wells Fargo Auto Service                         11/01/2020    $            624.00 $                 9,715.00   U Mortgage
                     Creditors Name
                                                                                                                                     RI Car
                     P.O. Box 168048                                  10/01/2020
                     Number      Street                                                                                              U   Credit card
                                                                                                                                     0   Loan repayment
                                                                                                                                     El Suppliers or vendors
                     Irving                    TX      75016
                     City                     State        ZIP Code
                                                                                                                                     El Other



                                                                                                                                     U Mortgage
                     Creditor's Name
                                                                                                                                     LI Car

                     Number      Street
                                                                                                                                     El Credit card
                                                                                                                                     0   Loan repayment
                                                                                                                                     U Suppliers or vendors
                                                                                                                                     U Other
                     City                     State        ZIP Code




                                                                                                                                     0   Mortgage
                     Creditor's Name
                                                                                                                                     0   Car

                     Number      Street
                                                                                                                                     El Credit card
                                                                                                                                     El Loan repayment
                                                                                                                                     El Suppliers or vendors
                                                                                                                                     El Other
                     City                     State        ZIP Code




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Debtor 1        Randy              Jason                 Adams                                        Case number (if known)
                   First Name      Middle Name           Last Name




 7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
      corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
      agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
      such as child support and alimony.

      Lif No
      U    Yes. List all payments to an insider.
                                                                        Dates of      Total amount       Amount you still      Reason for this payment
                                                                        payment       paid               Owe



            Insider's Name



            Number        Street




            City                                 State   ZIP Code




            Insider's Name


            Number        Street




            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
    an Insider?
    Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments that benefited an insider.

                                                                       Dates of        Total amount      Amount you still Reason for this payment
                                                                       payment         paid              owe
                                                                                                                               Include creditor's name



            Insider's Name



            Number        Street




            City                                 State   ZIP Code




            Insider's Name



            Number       Street




            City                                 State   ZIP Code



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Debtor 1       Randy                  Jason                 Adams                                              Case number (ifknown)
                First Name            Middle Name            Last Name




  Part 4:      Identify Legal Actions, Repowassions, and Foreclosures

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
    List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
    and contract disputes.

     &I No
     O Yes. Fill in the details.
                                                                    Nature of the case                                                               Status of the case


            Case title                                                                                                                               O   Pending
                                                                                                        Court Name
                                                                                                                                                     O On appeal
                                                                                                        Number     Street                            O   Concluded

            Case number
                                                                                                        City                    State   ZIP Code




            Case title                                                                                                                               O   Pending
                                                                                                        Court Name
                                                                                                                                                     L:1 On appeal
                                                                                                        Number     Street                            O   Concluded

            Case number
                                                                                                        City                    State   ZIP Code


 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     •     No. Go to line 11.
     O Yes. Fill in the information below.

                                                                              Describe the property                                                Value of the property



                 Creditor's Name



                 Number      Street                                           Explain what happened

                                                                              O    Property was repossessed.
                                                                              O    Property was foreclosed.
                                                                              O    Property was garnished.
                 City                               State   ZIP Code          0    Property was attached, seized, or levied.

                                                                              Describe the property                                                 Value of the propet
                                                                                    -               -



                 Creditor's Name



                 Number      Street
                                                                              Explain what happened

                                                                                   Property was repossessed.
                                                                                   Property was foreclosed.                                                                I
                                                                                                                                                                           i
                                                                                   Property was garnished.
                 City                               State   ZIP Code
                                                                                  Property was attached, seized, or levied.



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Debtor 1          Randy          Jason                  Adams                                            Case number Of known)
                  First Name     Middle Name             Last Name




 11.Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
     1Z1 No
           Yes. Fill in the details.

                                                                 Describe the action the creditor took                           Date action      Amount
                                                                                                                                 was taken
           Creditor's Name



           Number      Street




           City                           State   ZIP Code       Last 4 digits of account number: XXXX—


 12.Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
    creditors, a court-appointed receiver, a custodian, or another official?
     g     No
     CI    Yes

! Part 5:         List Certain Gifts and Contributions


 13.Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
     0 No
     CI    Yes. Fill in the details for each gift.


            Gifts with a total value of more than $600           Describe the gifts                                              Dates you gave
            per person                                                                                                           the gifts



           Person to Whom You Gave the Gift




           Number      Street



           City                           State   ZIP Code


           Person's relationship to you


           Gifts with a total value of more than $600            Describe the gifts                                              Dates you gave     Value
           per person                                                                                                            the gifts



           Person to Whom You Gave the Gift




           Number      Street



           City                           State   ZIP Code


           Person's relationship to you


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Debtor 1          Randy             Jason                Adams                                              Case number (rknown)
                    First Name      Middle Name          Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     g     No
     Ll    Yes. Fill in the details for each gift or contribution.

            Gifts or contributions to charities                 Describe what you contributed                                         Date you          Value
            that total More than $600                                                                                                 contributed
                                                                                                  A




           Charity's Name




           Number        Street




           City            State     ZIP Code




                    List Certain Losses


; 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
      disaster, or gambling?

     g     No
     O Yes. Fill in the details.

            Describe the property You lost and                   Describe any insurance coverage for the loss                         Date of your      Value of property
            how the loss occurred                                                                                                     loss              [oat
                                                                 Include the amount that Insurance has paid. List pending insurance
                                                                 claims on line 33 of Schedule AB: Proper*.




  Part 7:         List Certain Payments or Transfers

  16. Within 1 year before you flied for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
      you consulted about seeking bankruptcy or preparing a bankruptcy petition?
      Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

     O No
     g     Yes. Fill in the details.

                                                                 Description and value of any property transferred                    Date payment or   Amount of payment
            Jeffery Favors                                                                                                            transfer was
             Person Who Was Paid                                                                                                      made

            2133 Lawrenceville Suwanee R I
             Number        Street                                                                                                     11/04/2020                  175.00



            Suwanee                      GA       30024
             City                        State    ZIP Code



             Email or website address


             Person Who Made the Payment, if Not You



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Debtor 1        Randy              Jason                    Adams                                            Case number pfi...)
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred              Date payment or         Amount of
                                                                                                                                   transfer was made       payment

           Person Who Was Paid


           Number        Street




           City                         State    ZIP Code




           Email or website address


           Person Who Made the Payment, if Not You


 17.Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
     U Yes. Fill in the details.

                                                                    Description and value of any property transferred               Date payment or       Amount of payment
                                                                                                                                    transfer was
                                                                                                                                    made
            Person Who Was Paid


            Number        Street




            City                        State    ZIP Code

 18.Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
    Do not include gifts and transfers that you have already listed on this statement.
     21 No
     U Yes. Fill in the details.

                                                                    Description and value of property        Describe any property or payments received      Date transfer
                                                                    transferred                              or debts paid in exchange                       was made
           Person Who Received Transfer


           Number        Street




           City                         State    ZIP Code


           Person's relationship to you


           Person Who Received Transfer


           Number        Street




           City                        State     ZIP Code

           Person's relationship to you

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Debtor 1        Randy             Jason                Adams                                                 Case number (ir known)
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     •     No
     U Yes. Fill in the details.

                                                                   Description and value of the property transferred                                            Date transfer
                                                                                                                                                                was made


           Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     uf    No
     U Yes. Fill in the details.

                                                                   Last 4 (Nita of account number      Type of account or             Date account was       Last balance before
                                                                                                       instrument                     closed, sold, moved,   closing or transfer
                                                                                                                                      or transferred

            Name of Financial Institution
                                                                                                       U Checking

            Number       Street                                                                        U Savings
                                                                                                       U Money market
                                                                                                       U Brokerage
            City                       State    ZIP Code
                                                                                                       U Other


                                                                   XXXX—                               U Checking
            Name of Financial institution
                                                                                                       U Savings

            Number       Street                                                                        U Money market
                                                                                                       U Brokerage
                                                                                                       U Other
            City                       State    ZIP Code

 21. Do you now have, or did you have within 1 year before you flied for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     RI No
     [3 Yes. Fill in the details.
                                                                   Who else had access to it?                      Describe the contents                            Do you still
                                                                                                                                                                    have it?

                                                                                                                                                                  1 El No
            Name of Financial institution                         Name                                                                                              r.:1 Yes
            Number       Street                                   Number   Street


                                                                  City       State      ZIP Code
            City                       State    ZIP Code



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Debtor 1          Randy           Jason                    Adams                                                    Case number (if known)
                   First Name     Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    El No
    U Yes. Fill in the details.
                                                                   Who else has or had access to It?                      Describe the contents          Do you still
                                                                                                                                                       • have ft?

                                                                                                                                                        U No
            Name of Storage Facility                               Name
                                                                                                                                                      : U Yes

            Number       Street                                    Number    Street


                                                                   CityState ZIP Code

                                        State    ZIP
                                                  „ Code ,


 Part 9:             Identify Property You Hold or Control for Someone Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
         No
     U Yes. Fill in the details.
                                                                  Where is the property?                                  Describe the property     Value


            Owner's Name


                                                                 Number     Street
            Number       Street



                                                                 City                          State     ZIP Code
            City                        State    ZIP Code

 Part 10:            Give Details About Environmental Information

 For the purpose of Part 10, the following definitions apply:
 •   Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.
 •   Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
     utilize it or used to own, operate, or utilize it, including disposal sites.
 •   Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

     El No
     U Yes. Fill in the details.
                                                                  Governmental unit                          Environmental law, If you know it     Date of notice



           Name of site                                          Governmental unit


           Number      Street                                    Number     Street


                                                                 City                 State   ZIP Code



           City                        State    ZIP Code



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Debtor 1       Randy               Jason                       Einns                                                   Case number (if known)
                   First Name      Middle Name              Last Name




 26. Have you notified any governmental unit of any release of hazardous material?

     21 No
     U Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it



            Name of site                                          Governmental unit


            Number        Street                                  Number     Street



                                                                  City                  State    ZIP Code


            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    Ei No
     U Yes. Fill in the details.

                                                                    Court or agency                                     Nature of the case                               Status of the
                                                                                                                                                                         case
           Case title
                                                                    Court Name
                                                                                                                                                                        El Pending
                                                                                                                                                                        El On appeal
                                                                    Number     Street                                                                                   U Concluded

           Case number                                              City                        State   ZIP Code


 Part 11:            Give Details About Your Business or Connections to Any Business

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
        U A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           U A member of a limited liability company (LLC) or limited liability partnership (LLP)
           U A partner in a partnership
           U An officer, director, or managing executive of a corporation
           U An owner of at least 5% of the voting or equity securities of a corporation

     2i No. None of the above applies. Go to Part 12.
     U Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                                Employer Identification number
                                                                                                                                       Do not include Social Security number or ITIN.
            Business Name

                                                                                                                                       EIN:            —
            Number        Street
                                                                    Name of accountant or bookkeeper                                   Dates business existed


                                                                                                                                       From                To
                                        State    ZIP ,Code,

                                                                    Describe the nature of the business                                Employer Identification number
                                                                                                                                       Do not include Social Security number or ITIN,
            Business Name



            Number        Street
                                                                    Name of accountant or bookkeeper


                                                                                                                                       From                To
            City                        State    ZIP Code


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Debtor 1        Randy              Jason                Adams                                               Case number (ilknown)
                   First Name      Middle Name          Last Name




                                                                                                                            Employer Identification number
                                                                Describe the nature of the business
                                                                                                                            Do not Include Social Security number or ITIN.
           Business Name
                                                                                                                            EIN:
           Number         Street
                                                                Name of accountant or bookkeeper




                                                                                                                            From                To
            City                        State    ZIP Code




 28. Within 2 years before you flied for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     Institutions, creditors, or other parties.

           No
     0 Yes. Fill in the details below.
                                                                Date issued




            Name                                                    MM! DD / YYYY


            Number        Street




            City                        State    ZIP Code




  Part 12:         Sign Below

      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case cnn result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




                                                 Wafr          j)
           Signature of Deb                                                         Signature of Debtor 2


           Date                            Ps-0                                     Date

       Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

       21 No
       0  Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      El No
      g Yes. Name of person Jeffery Favors                                                                        . Attach the Bankruptcy Petition Preparer's Notice,
                                                                                                                     Declaration, and Signature (Official Form 119).




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 12
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Fill in this information to identify your case and this filing:


Debtor 1              Randy                       Jason                      Adams
                      First Name                 Middle Name                  Last Name

Debtor 2
(Spouse, if filing)   First Name                 Middle Name                  Last Name


United States Bankruptcy Court for the: Northern District of Georgia

Case number
                                                                                                                                               U Check if this is an
                                                                                                                                                   amended filing

Official Form 106A/B
Schedule A/B: Property                                                                                                                                           12/15
                                                                                                                                                       111             1=11.1

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Part 1:         Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
    U No. Go to Part 2.
    El Yes. Where is the property?
                                                                       What Is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                       •    Single-family home                           the amount of any secured claims on Schedule a
      1.1.     9576 Briarcreek Lane                                                                                      Creditors Who Have Claims Secured by Property.
                                                                       O    Duplex or multi-unit building
              Street address, if available, or other description
                                                                       O Condominium or cooperative                      Current value of the     Current value of the
                                                                       O    Manufactured or mobile home                  entire property?         portion you own?
                                                                       O    Land                                                125,000.00        $          125,000.00
                                                                       O    Investment property
               Jonesboro                      GA        30238                                                            Describe the nature of your ownership
                                                                       O    Timeshare
              City                            State     ZIP Code                                                         interest (such as fee simple, tenancy by
                                                                       O    Other
                                                                                                                         the entireties, or a life estate), if known.
                                                                       Who has an interest in the property? Check one.

               Clayton                                                 at Debtor 1 only
              County                                                   0 Debtor 2 only
                                                                       0 Debtor 1 and Debtor 2 only                      0 Check if this is community property
                                                                                                                            (see instructions)
                                                                       0 At least one of the debtors and another
                                                                       Other information you wish to add about this item, such as local
                                                                       property identification number:
    If you own or have more than one, list here:
                                                                   What is the property? Check all that apply.
                                                                                                                         Do not deduct secured claims or exemptions. Put
                                                                   O       Single-family home                            the amount of any secured claims on Schedule D:
      1.2.                                                                                                               Creditors Who Have Claims Secured by Property.
                                                                   O       Duplex or multi-unit building                                      .
              Street address, if available, or other description                                                                                       ,
                                                                   O Condominium or cooperative                          Current value of the     Current value of the
                                                                   CI      Manufactured or mobile home                   entire property?         portion you own?
                                                                   O       Land
                                                                   17      Investment property
                                                                   O       Timeshare                                     Describe the nature of your ownership
              City                            State     ZIP Code                                                         interest (such as fee simple, tenancy by
                                                                   O       Other                                         the entireties, or a life estate), if known.
                                                                   Who has an interest in the property? Check one.
                                                                   0 Debtor 1 only
              County                                               0 Debtor 2 only
                                                                   0 Debtor 1 and Debtor 2 only                          U Check if this is community property
                                                                   0 At least one of the debtors and another                (see instructions)

                                                                   Other information you wish to add about this item, such as local
                                                                   property identification number:


Official Form 106A/B                                                   Schedule A/B: Property                                                                 page 1
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 Debtor 1          Randy               Jason              Adams                                           Case number ori.om)
                   First Name     Middle Name            Last Name




                                                                     What is the property? Check all that apply.           Do not deduct secured claims or exemptions. Put
                                                                     O   Single-family home                                the amount of any secured claims on Schedule D:
     1.3.                                                                                                                  Creditors Who Have Claims Secured by Property.
            Street address, if available, or other description       O   Duplex or multi-unit building
                                                                     O Condominium or cooperative                          Current value of the     Current value of the
                                                                                                                           entire property?         portion you own?
                                                                     O   Manufactured or mobile home
                                                                     O   Land
                                                                     O Investment property
            City                            State     ZIP Code       LI Timeshare
                                                                                                                           Describe the nature of your ownership
                                                                                                                           Interest (such as fee simple, tenancy by
                                                                     LI Other                                              the entireties, or a life estate), if known.
                                                                     Who has an interest in the property? Check one.
                                                                     U Debtor 1 only
            County
                                                                     U Debtor 2 only
                                                                     0 Debtor 1 and Debtor 2 only                               Check if this is community property
                                                                                                                                (see instructions)
                                                                     0 At least one of the debtors and another
                                                                     Other information you wish to add about this item, such as local
                                                                     property identification number:


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                          125,000.00
   you have attached for Part 1. Write that number here.                                                                                      4




ifizi         Describe Your Vehicles


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles
    U No
    II Yes

    3.1.    Make:                        Lexus                       Who has an interest in the property? Check one.       Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
            Model:                       GS 350                          Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
                                         2011                        0 Debtor 2 only
            Year:                                                                                                          Current value of the      Current value of the
                                                                     CI Debtor 1 and Debtor 2 only
            Approximate mileage:                                                                                           entire property?          portion you own?
                                                                     0 At least one of the debtors and another
            Other information:
                                                                                                                                    11,500.00        $        11,500.00
                                                                     0 Check if this is community property (see
                                                                       instructions)



    If you own or have more than one, describe here:

    3.2.    Make:                                                    Who has an interest in the property? Check one.       Do not deduct secured claims or exemptions. Put
                                                                                                                           the amount of any secured claims on Schedule D:
            Model:                                                   0 Debtor 1 only                                       Creditors Who Have Claims Secured by Property.
                                                                     0 Debtor 2 only
            Year:                                                                                                          Current value of the      Current value of the
                                                                     LI Debtor 1 and Debtor 2 only
                                                                                                                           entire property?          portion you own?
            Approximate mileage:                                     0 At least one of the debtors and another
            Other information:
                                                                     0 Check if this is community property (see
                                                                         instructions)




 Official Form 106A/B                                                 Schedule A/B: Property                                                                 page 2
                Case 20-71589-pwb                  Doc 1        Filed 11/10/20 Entered 11/10/20 14:52:45                                       Desc
                                                               Petition Page 23 of 70
Debtor 1        Randy                  Jason       Adams                                           Case number Of known)
                First Nam&       Middle Name      Last Name




           Make:                                              Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
   3.3.
                                                                                                                      the amount of any secured claims on Schedule a
                                                              U Debtor 1 only
           Model:                                                                                                     Creditors Who Have Claims Secured by Property.
                                                              U Debtor 2 only
           Year:                                                                                                      Current value of the     Current value of the
                                                                  Debtor 1 and Debtor 2 only
                                                                                                                      entire property?         portion you own?
           Approximate mileage:                               U At least one of the debtors and another
           Other information:
                                                              U Check if this is community property (see
                                                                instructions)


           Make:                                              Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
   3.4.
                                                                                                                      the amount of any secured claims on Schedule a
           Model:                                             0 Debtor 1 only                                         Creditors Who Have Claims Secured by Property
                                                              O Debtor 2 only
           Year:                                                                                                      Current value of the      Current value of the
                                                              0 Debtor 1 and Debtor 2 only                            entire property?          portion you own?
           Approximate mileage:                               0 At least one of the debtors and another
           Other information:
                                                              U Check if this is community property (see
                                                  1             instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   Vi No
          Yes


            Make:                                             Who has an interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
   4.1.
                                                                                                                      the amount of any secured claims on Schedule D:
            Model:                                            O Debtor 1 only                                         Creditors Who Have Claims Secured by Property.
                                                                  Debtor 2 only
            Year:
                                                              CI Debtor 1 and Debtor 2 only                           Current value of the      Current value of the
            Other information:                                CI At least one of the debtors and another              entire property?          portion you own?


                                                              0   Check if this is community property (see
                                                                  instructions)



   If you own or have more than one, list here:

            Make:                                             Who has an Interest in the property? Check one.         Do not deduct secured claims or exemptions. Put
    4.2.
                                                                                                                      the amount of any secured claims on Schedule D:
            Model:                                            0   Debtor 1 only                                       Creditors Who Have Claims Secured by Property
                                                              0   Debtor 2 only
            Year:                                                                                                     Current value of the      Current value of the
                                                              0 Debtor 1 and Debtor 2 only                            entire property?          portion you own?
            Other information:                                0 At least one of the debtors and another

                                                              0 Check if this is community property (see
                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                      11,500.00
   you have attached for Part 2. Write that number here                                                                                  4




 Official Form 106A/B                                          Schedule MB: Property                                                                    page 3
              Case 20-71589-pwb                   Doc 1       Filed 11/10/20 Entered 11/10/20 14:52:45                             Desc
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Debtor 1      Randy                Jason          Adams                                         Case number Of known)
              First Name     Middle Name         Last Name




Part 3:    Describe Your Personal and Household Items

                                                                                                                              Current value of the
Do you own or have any legal or equitable interest in any of the following Items?
                                                                                                                              portion you own?
                                                                                                                              Do not deduct secured claims
                                                                                                                              or exemptions
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
   El No
   0 Yes. Describe
                             furniture and appliances                                                                                         1,075.00

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
   El No
   O Yes. Describe                                                                                                                               160.00
                             phone and TV
8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   O No
   O Yes. Describe

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   O No
   • Yes. Describe


10.Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   (0 No
   CI Yes. Describe
11.Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
   O No
   O Yes. Describe
                             Clothes                                                                                                             200.00

12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
   O No
   O Yes. Describe

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
   O No
   O Yes. Describe

14 Any other personal and household items you did not already list, including any health aids you did not list

   • No
   O Yes. Give specific
     information.

16. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                1,435.00
    for Part 3. Write that number here                                                                                    4


Official Form 106A/B                                         Schedule NB: Property                                                         page 4
               Case 20-71589-pwb                    Doc 1        Filed 11/10/20 Entered 11/10/20 14:52:45                                 Desc
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  Debtor 1      Randy               ISSOn           Adams                                      Case number of known)
                First Name    Middle Name          Last Name




 Part 4:      Describe Your Financial Assets


 Do you own or have any legal Or equitable interest in any of the following?                                                         Current value of the
                                                                                                                                     portion you own? '
                                                                                                                                     Do not deduct secured claims
                                                                                                                                     or exemptions.

i 16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

     O No
    1:1 Yes                                                                                                   Cash:



 17. Deposits of money
     Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
               and other similar institutions. If you have multiple accounts with the same institution, list each.
    U No
     O Yes                                                      Institution name:


                              17.1. Checking account:            Westside Bank                                                                        300.00
                              17.2. Checking account:

                              17.3. Savings account:

                              17.4. Savings account:

                              17.5. Certificates of deposit:

                              17.6. Other financial account:

                              17.7. Other financial account:

                              17.8. Other financial account:

                              17.9. Other financial arr,nunt:




 18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     O No
    U Yes                     Institution or issuer name:




 19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
     an LLC, partnership, and joint venture

     O No                     Name of entity:                                                                 % of ownership:
    U Yes. Give specific
                                                                                                                          %           $
      information about
      them                                                                                                                %           $




  Official Form 106A/B                                          Schedule NB: Property                                                             page 5
              Case 20-71589-pwb                          Doc 1      Filed 11/10/20 Entered 11/10/20 14:52:45                      Desc
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  Debtor 1     Randy                 ,Jason              Adams                                   Case number It known)
                First Name    Middle Name             Last Name




I 20. Government and corporat9 bonds and other negotiable and non-negotiable instruments
    Negotiable instruments inclpde personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

    WI No
        Yes. Give specific    Issuer name:
        information about
        them




 21.Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

        No
        Yes. List each
        account separately.    Type of account:           Institution name:

                               401(k) or similar plan:

                               Pension plan:

                              IRA:

                               Retirement account:

                               Keogh:

                               Additional account:

                               Additional account:



 22.Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

        No
    U Yes                                            Institution name or individual:
                              Electric:

                              Gas:

                              Heating oil:

                              Security deposit on rental unit:

                              Prepaid rent:

                              Telephone:

                              Water:

                              Rented furniture:

                              Other:



 23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

    lid No
    LI Yes                     Issuer name and description.




  Official Form 106A/B                                            Schedule NB: Property                                              page 6
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    Debtor 1      Randy               Jason           Adams                                          Case number (if known)
                   First Name    Middle Name          Lest Name




    24.Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       El No
       Li Yes
                                         Institution name and description. Separately file the records of any interests. ii U.S.C. § 521(c):




    25.Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
       exercisable for your benefit

       la No
       O Yes. Give specific
         information about them....
                                                                                                                                               $
1
    26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
        Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
       RI No
       O Yes. Give specific
         information about them....


    27. Licenses, franchises, and other general intangibles
        Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       •    No
       O Yes. Give specific
         information about them....


    Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                               portion you own?
                                                                                                                                               Do not deduct secured
                                                                                                                                               claims or exemptions.

. 28. Tax refunds owed to you
       •    No
       CI   Yes. Give specific information
                                                                                                                      Federal:
                 about them, including whether
                 you already filed the returns                                                                        State:
                 and the tax years.
                                                                                                                      Local:


1 29. Family support
      Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       la No
       O Yes. Give specific information
                                                                                                                     Alimony:
                                                                                                                     Maintenance:
                                                                                                                     Support:
                                                                                                                     Divorce settlement:
                                                                                                                     Property settlement:

    30. Other amounts someone owes you
        Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation,
                  Social Security benefits; unpaid loans you made to someone else
       ia No
       O Yes. Give specific information




    Official Form 106A/B                                          Schedule NB: Property                                                                  page 7
               Case 20-71589-pwb                       Doc 1       Filed 11/10/20 Entered 11/10/20 14:52:45                                               Desc
                                                                  Petition Page 28 of 70
 Debtor 1        Randy                Jason            Adams                                             Case number (if known)
                First Name      Middle Name           Last Name




 31. Interests in insurance policies
     Examples: Health, disabilitY, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
    0    No
    O Yes. Name the insurance company            Company name:                                              Beneficiary:                             Surrender or refund value:
           of each policy and list its value....




 32. Any interest in property that is due you from someone who has died
     If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
     property because someone has died.
    O No
    LI Yes. Give specific information

 33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
     Examples: Accidents, employment disputes, insurance claims, or rights to sue
    O No
    O Yes. Describe each claim


 34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
     to set off claims
    O No
    O Yes. Describe each claim
                                                                                                                                                      $




 35. Any financial assets you did not already list

    O No
    O Yes. Give specific information



 36 Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here                                                                                                     4                          300.00



 Part 5:      Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

= 37. Do you own or have any legal or equitable interest in any business-related property?
    0    No. Go to Part 6.
    O Yes. Go to line 38.
                                                                                                                                                    Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured claims
                                                                                                                                                    or exemptions.

 38. Accounts receivable or commissions you already earned
     O No
     •   Yes. Describe


 39. Office equipment, furnishings, and supplies
     Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
     O No
     O Yes. Describe




  Official Form 106A/B                                            Schedule A/B: Property                                                                         page 8
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  Debtor 1      Randy               Jason         Adams                                    Case number of known)
                First Name    Middle Name         Last Name




 40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

     121 No
     1:1 Yes. Describe



1 41. Inventory
          No
       O Yes. Describe


 42.Interests in partnerships or joint ventures
     2 No
     O Yes. Describe          Name of entity:                                                                % of ownership:
                                                                                                                     %
                                                                                                                     %



  43. Customer lists, mailing lists, or other compilations
      • No
      U Yes. Do your lists include personally idantifiable information (as defined in 11 U.S.C. § 101(41A))?
              Li No
              U Yes. Describe.

                                                                                                                                $

  44. Any business-related property you did not already list
      ▪ No
      U Yes. Give specific
         information




  45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                     0.00
      for Part 5. Write that number here                                                                                  4


  Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
              If you own or have an interest in farmland, list it in Part 1.


  46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
     21 No. Go to Part 7.
     O Yes. Go to line 47.
                                                                                                                               Current value of the
                                                                                                                               portion you own?
                                                                                                                               Do not deduct secured claims
                                                                                                                               or exemptions.
  47. Farm animals
      Examples: Livestock, poultry, farm-raised fish
       No
     U Yes




   Official Form 106A/B                                       Schedule A113: Property                                                       page 9
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    Debtor 1          Randy               Jason          Adams                                      Case number (if known)
                      First Name     Middle Name         Last Name




    48. Crops—either       growing or harvested
          •    No
          O Yes. Give specific
            information

    49. Farm and     fishing equ pment, implements, machinery, fixtures, and tools of trade
        1-211
        IU No
          Li Yes



    so. Farm and fishing supplies, chemicals, and feed

          121 No
          ▪    Yes



    51. Any farm- and commercial fishing-related property you did not already list
          WI   No
          O Yes. Give specific 1--
            information
                                                                                                                                      $
    52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                  0.00
          for Part 6. Write that number here                                                                                  4



    Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


    53.   Do you have other property of any kind you did not already list?
          Examples: Season tickets, country club membership

          IA No                                                                                                              Ti
          O Yes. Give specific
            information




    54. Add the dollar      value of all of your entries from Part 7. Write that number here                                      4                0.00
1




MI                   List the Totals of Each Part of this Form

                                                                                                                                           125,000.00
    55.Part 1: Total real estate, line 2                                                                                          4   $

    56.Part 2: Total vehicles, line 5                                                    11,500.00

    57.Part 3: Total personal and household items, line 15                                1,435.00

    58.Part 4: Total financial assets, line 36                                                 300.00

    59.Part 5: Total business-related property, line 45                                          0.00

    60.Part 6: Total farm- and fishing-related property, line 52                                 0.00

    61.Part 7: Total other property not listed, line 54                         + $              0.00

    62.Total personal property. Add lines 56 through 61.                       [ $       13,485.00 Copy personal property total —) + $       13,485.00



    63.Total of all property on Schedule A/B. Add line 55 + line 62                                                                         138,485.00



    Official Form 106A/B                                             Schedule A/B: Property                                                   page 10
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 Fill in this information to identify your case:

 Debtor 1           Randy                       Jason                    Adams
                     First Name                 Middle Name              Last Name

 Debtor 2
 (Spouse, if filing) First Name                 Middle Name              Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number                                                                                                                             U Check if this is an
  (If known)
                                                                                                                                           amended filing



Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                           04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar raliount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Part 1:         Identify the Property You Claim as Exempt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
            You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
      ▪     You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)


 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


          Brief description of the property and line on       Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
          Schedule A/B that lists this property               portion you own
                                                              Copy the value from    Check only one box for each exemption.
                                                              Schedule NB

      Brief
      description:                Single family Home          $ 125,000.00           Us 21,500.00
      Line from                                                                      ki 100% of fair market value, up to
      Schedule NB:                1 .1                                                  any applicable statutory limit

      Brief
      description:                Clothes                     $ 200.00               U $ 200.00
      Line from                                                                      10 100% of fair market value, up to
      Schedule NB:                                                                      any applicable statutory limit

      Brief
      description:                Electronics                 $ 160.00                   $ 160.00

      Line from                                                                          100% of fair market value, up to
      Schedule A/B:               7                                                      any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
      •     Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
            U      No
            U      Yes


Official Form 106C                                            Schedule C: The Property You Claim as Exempt                                        page 1 of
            Case 20-71589-pwb                      Doc 1       Filed 11/10/20 Entered 11/10/20 14:52:45                                Desc
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Debtor 1      Randy                           Jason                  Adams                      Case number Of known)
             First Name         Middle Name       Last Name




 Part 2:     Additional Page

      Brief description of the property and line          Current value of the   Amount of the exemption you claim       Specific laws that allow exemption
      on Schedule NB that lists this property             portion you own
                                                          Copy the value from    Check only one box for each exemption
                                                          Schedule NB

     Brief
     description:
                          Checking Account                            300.00     U$          300.00
     Line from            17                                                         100% of fair market value, up to
     Schedule A/B:                                                                   any applicable statutory limit

     Brief
     description:         Lexus                                   11,500.00      Us       5,000.00
     Line from                                                                       100% of fair market value, up to
     Schedule NB:
                          3.1                                                        any applicable statutory limit


     Brief                Furniture                                 1,075.00              1,075.00
     description:                                                                U$
     Line from                                                                       100% of fair market value, up to
                          6                                                          any applicable statutory limit
     Schedule NB:

     Brief
     description:                                                                    $
     Line from                                                                   0 100% of fair market value, up to
     Schedule NB:                                                                    any applicable statutory limit

     Brief
     description:                                                                    $
     Line from                                                                   El 100% of fair market value, up to
     Schedule NB:                                                                    any applicable statutory limit


     Brief
     description:                                                                    $
     Line from                                                                    0 100% of fair market value, up to
     Schedule NB:                                                                    any applicable statutory limit

     Brief
     description:                                                                    $
     Line from                                                                    0 100% of fair market value, up to
     Schedule NB:                                                                    any applicable statutory limit

     Brief
     description:                                                                    $
     Line from                                                                    0 100% of fair market value, up to
     Schedule NB:                                                                    any applicable statutory limit


     Brief
     description:                                                                    $
     Line from                                                                    0 100% of fair market value, up to
     Schedule A/B:                                                                   any applicable statutory limit

     Brief
     description:                                                                    $
     Line from                                                                       100% of fair market value, up to
     Schedule A/B:                                                                   any applicable statutory limit

     Brief
     description:                                                                    $
     Line from                                                                    0 100% of fair market value, up to
     Schedule NB:                                                                    any applicable statutory limit


     Brief
     description:                                                                    $
     Line from                                                                    0 100% of fair market value, up to
     Schedule A/B:                                                                   any applicable statutory limit


Official Form 106C                                       Schedule C: The Property You Claim as Exempt                                     page   2   of
                   Case 20-71589-pwb                            Doc 1        Filed 11/10/20 Entered 11/10/20 14:52:45                              Desc
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Fill in this information to identify your case:

Debtor 1            Randy                        Jason                  Adams
                     First Name                   Middle Name                     Last Name

Debtor 2
(Spouse, if filing) First Name                    Middle Name                     Lest Name


United States Bankruptcy Court for the: Northern District of Georgia

Case number
 (If known)                                                                                                                                     1:1 Check if this is an
                                                                                                                                                    amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      g      Yes. Fill in all of the information below.


                 List All Secured Claims
                                                                                                         Column A                         tot                 Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of ciaIm                 Value of collateral   Unsecured
   for each claim, If more than one Creditor has a particular claim, list the other creditors in Part 2.
                                                                                                         DO net dedttat te              that           this    cittion1,
   As much as possible, list the claims in alphabetical order according to the creditor's name.          value of collater                                      In
2.1
      M&T Bank                                              Dinribe the property that secures the claim:                   104,600.00       125,000.00 $             0.00
                                                              -••-••^-'^--•__ -••__•__• --_,_•--
      Creditor's Name

      P.O. Box 1288                                        Single family home,
      Number            Street                            I9576 Briarcreek Lane
                                                            As of the date you file, the claim is: Check all that apply.
                                                                El   Contingent
      Buffalo                        NY 14240               4 Unliquidated
      City                          State    ZIP Code       O Disputed
  Who owes the debt? Check one.                             Nature of lien. Check all that apply.
  4  Debtor 1 only                                          4 An agreement you made (such as mortgage or secured
  O Debtor 2 only                                             car loan)
  O Debtor 1 and Debtor 2 only                              ElStatutory lien (such as tax lien, mechanic's lien)
  CI At least one of the debtors and another                O Judgment lien from a lawsuit
                                                            O Other (including a right to offset)
  O Check if this claim relates to a
     community debt
  Date debt was incurred 11/06/2012                         Last 4 digits of account number         5   2    0     1
      Wells Fargo Auto                                      Describe the property that secures the claim:                    9,715.00 $         11,500.00 $          0.00,
      Creditor's Name

      P.O. Box 168048                                      2011 Lexus GS 350
      Number            Street

                                                            As of the date you file, the claim is: Check all that apply.
                                                            O Contingent
      Irving                         TX 75016               4 Unliquidated
      City                           State   ZIP Code
                                                            O Disputed
  Who owes the debt? Check one.                             Nature of lien. Check all that apply.
    Debtor 1 only                                             An agreement you made (such as mortgage or secured
  O Debtor 2 only                                             car loan)
  O Debtor 1 and Debtor 2 only                              O Statutory lien (such as tax lien, mechanic's lien)
  O At least one of the debtors and another                 • Judgment lien from a lawsuit
                                                            O Other (including a right to offset)
  O Check if this claim relates to a
     community debt
  Date debt was incurred 04/01/201E                         Last 4 digits of account number         9    8    2
      Add the dollar value of your entries In Column A on this page. Write that number here:                               114.315.00

 Official Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                         page 1 of
                 Case 20-71589-pwb                          Doc 1         Filed 11/10/20 Entered 11/10/20 14:52:45                                 Desc
                                                                         Petition Page 34 of 70

Fill in this information to identify your case:

Debtor 1              Randy                    Jason                 Adams
                      First Name                  Middle Name                   Last Name

Debtor 2
(Spouse, if filing)   First Name                  Middle Name                   Last Name


United States Bankruptcy Court for the: Northern District of Georgia

Case number
(If known)                                                                                                                                         Check if this is an
                                                                                                                                                   amended filing


Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
      U No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
      121 Yes. Fill in all of the information below.


               List All Secured Claims

2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of                       ilalue of collateral   ns0Oured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. 00 not deduc                   hOtit000.itilthis      Sefton
   As much as possible, list the claims in alphabetical order according to the creditor's name.          )41000100Hate                  1,4)6)
2.1                                                        Describe the property that secures the claim:                   104,600.00 $      125,000.00 $           0.00 ;
       M&T Bank
      Creditor's Name
       P.O. Box 1288                                       Single family home,
      Number            Street                             9576 Briarcreek Lane
                                                           As of the date you file, the claim is: Check all that apply.
                                                            O    Contingent
       Buffalo                     NY 14240                      Unliquidated
      City                         State   ZIP Code         O    Disputed

  Who owes the debt? Check one.                            Nature of lien. Check all that apply.
  V     Debtor 1 only                                       V    An agreement you made (such as mortgage or secured
  O     Debtor 2 only                                            car loan)
  O Debtor 1 and Debtor 2 only                              O    Statutory lien (such as tax lien, mechanic's lien)
  O     At least one of the debtors and another             CI   Judgment lien from a lawsuit
                                                            O    Other (including a right to offset)
  O Check if this claim relates to a
     community debt
  Date debt was incurred 11/06/2012                        Last 4 digits of account number 5               2    0     1
2.2                                                                                                                          9,716.00 $       11,500.00 $           0.00
       Wells Fargo Auto                                    Describe the property that secures the claim:
      Creditor's Name
       P.O. Box 168048                                     2011 Lexus GS 350
      Number            Street
                                                            As of the date you file, the claim is: Check all that apply.
                                                            O    Contingent
       Irving                      TX 75016                      Unliquidated
      City                         State   ZIP Code         U    Disputed

  Who owes the debt? Check one.                             Nature of lien. Check all that apply.
  V     Debtor 1 only                                       V    An agreement you made (such as mortgage or secured
  O     Debtor 2 only                                            car loan)
  O     Debtor 1 and Debtor 2 only                          O    Statutory lien (such as tax lien, mechanic's lien)
  LI    At least one of the debtors and another             O    Judgment lien from a lawsuit
                                                            O    Other (including a right to offset)
  O Check if this claim relates to a
     community debt
  Date debt was incurred 04/01/201E                        Last 4 digits of account number             9   8    2     1
       Add the dollar value of your entries in Column A on this page. Write that number here:                              114,315.00

Official Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                          page 1 of 1
                  Case 20-71589-pwb                        Doc 1    Filed 11/10/20 Entered 11/10/20 14:52:45                                   Desc
                                                                   Petition Page 35 of 70
   Fill in this information to identify your case:

   Debtor 1          Randy                        Jason          Adams
                      First Name                  Middle Name              Last Name

   Debtor 2
   (Spouse, if filing) First Name                 Middle Name              Last Name


   United States Bankruptcy Court for the: Northern District of Georgia
                                                                                                                                                Check if this is an
   Case number                                                                                                                                  amended filing
   (If known)



 Official Form 106E/F
 Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                          12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 NB: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule Co: Creditors VVho Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

0 1 :11           List All of Your PRIORITY Unsecured Claims

 1. Do any creditors have priority unsecured claims against you?
           No. Gobo Part 2.
           Yes.
  2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
       each claim listed, Identify what type of claim it Is. If a claim has both priority and nonprlority amounts, list that claim here and show both priority and
       nonpriority amounts. As much as possible, list the Claims in alphabetical order according to the creditor's name. If you have more than two priority
       unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular Claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form In the instruction booklet.)
                                                                                                                                               •            On011OritY
                                                                                                                                           amount         a mount

2.1
                                                                   Last 4 digits of account number
         Priority Creditor's Name

                                                                   When was the debt incurred?
         Number           Street

                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   O Contingent
         City                         State         ZIP Code
                                                                   • Unliquidated
         Who incurred the debt? Check one.                         O Disputed
         O Debtor 1 only
         O Debtor 2 only                                           Type of PRIORITY unsecured claim:
         O Debtor 1 and Debtor 2 only                              O Domestic support obligations
         0 At least one of the debtors and another                 O Taxes and certain other debts you owe the government
         O Check if this claim is for a community debt             O Claims for death or personal injury while you were
         Is the claim subject to offset?                             intoxicated
         I:I No                                                    O Other. Specify
         O Yes                       ,M1.5^00.6      J

12.2                                                               Last 4 digits of account number                                $
         Priority Creditor's Name
                                                                   When was the debt incurred?
         Number            Street
                                                                   As of the date you file, the claim is: Check all that apply.
                                                                   O Contingent
         City                         State         ZIP Code       • Unliquidated
         Who incurred the debt? Check one.                         O Disputed
         O Debtor 1 only
                                                                   Type of PRIORITY unsecured claim:
         O Debtor 2 only
                                                                   O Domestic support obligations
         O Debtor 1 and Debtor 2 only
                                                                   O Taxes and certain other debts you owe the government
         0 At least one of the debtors and another
                                                                   O Claims for death or personal injury while you were
         O Check if this claim is for a community debt                intoxicated
         Is the claim subject to offset?                           CI Other. Specify
         O No
         O Yes


  Official Form 106E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                      page 1 of   18
                Case 20-71589-pwb                     Doc 1       Filed 11/10/20 Entered 11/10/20 14:52:45                        Desc
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Debtor 1           Randy               Jason        Adams                                                Case number (if known)
                  First Name     Middle Name         Last Name

 Part 1:         Your PRIORITY Unsecured Claims — Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4 and so forth.



                                                                 Last 4 digits of account number
      Priority Creditor's Name

                                                                 When was the debt incurred?
      Number           Street

                                                                 As of the date you file, the claim is: Check all that apply.

                                                                 O    Contingent
      City                             State    ZIP Code         LI   Unliquidated
                                                                 O    Disputed
      Who incurred the debt? Check one.
      •      Debtor 1 only                                       Type of PRIORITY unsecured claim:
      El Debtor 2 only
                                                                 Cl Domestic support obligations
      O Debtor 1 and Debtor 2 only
                                                                 CI   Taxes and certain other debts you owe the government
      O At least one of the debtors and another
                                                                 O    Claims for death or personal injury while you were
                                                                      intoxicated
      CI Check if this claim is for a community debt
                                                                 O    Other. Specify

      Is the claim subject to offset?
      El No
      O Yes

2.4
                                                                 Last 4 digits of account number
      Priority Creditor's Name

                                                                 When was the debt incurred?
      Number            Street

                                                                 As of the date you file, the claim is: Check all that apply.

                                                                 O    Contingent
      City                              State   ZIP Code         •    Unliquidated
                                                                 O    Disputed
      Who incurred the debt? Check one.
      O Debtor 1 only                                            Type of PRIORITY unsecured claim:
      O Debtor 2 only
                                                                 CI Domestic support obligations
      O Debtor 1 and Debtor 2 only
                                                                 O    Taxes and certain other debts you owe the government
      CI At least one of the debtors and another                 O    Claims for death or personal injury while you were
                                                                      intoxicated
      O Check if this claim is for a community debt
                                                                 O    Other. Specify

      Is the claim subject to offset?
      El No
      O Yes
2.5
                                                                 Last 4 digits of account number
      Priority Creditor's Name

                                                                 When was the debt incurred?
      Number            Street

                                                                 As of the date you file, the claim is: Check all that apply.

                                                                 U    Contingent
      City                              State   ZIP Code         •    Unliquidated
                                                                 O    Disputed
      Who incurred the debt? Check one.
      LI Debtor 1 only                                           Type of PRIORITY unsecured claim:
      O Debtor 2 only
                                                                 O    Domestic support obligations
      O Debtor 1 and Debtor 2 only
                                                                 U    Taxes and certain other debts you owe the government
      0 At least one of the debtors and another                  U    Claims for death or personal injury while you were
                                                                      intoxicated
      O Check if this claim is for a community debt
                                                                 U    Other. Specify

      Is the claim subject to offset?
      El No
      O Yes


Official Form 106E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                       . 18
                                                                                                                                         page 2 of
                  Case 20-71589-pwb                      Doc 1       Filed 11/10/20 Entered 11/10/20 14:52:45                                        Desc
                                                                    Petition Page 37 of 70
Debtor 1           Randy                   Jason      Adams                                            Case number Of known)
                  First Name        Middle Name       Last Name

                List All of Your NONPRIORITY Unsecured Claims

 3. Do any creditors have nonpriority unsecured claims against you?
    D     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
          Yes

 4. List all of Your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify What type of claim it is. Do not list claims already
    Included In Part 1. If more than one creditor holds a particular claim, list the other creditors In Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                            hAltin

      AUSTINCAPBK                                                                 Last 4 digits of account number _!L.     A . 0          2
      Nonpriority Creditor's Name
                                                                                                                                                               984.00
                                                                                  When was the debt incurred?           12/18/19
      8100 Shoal Creek
      Number           Street
      Austin                                        TX             78757
      City                                          State         ZIP Code        As of the date you file, the claim is: Check all that apply.

                                                                                  O   Contingent
      Who incurred the debt? Check one.                                               Unliquidated
      •      Debtor 1 only                                                        O   Disputed
      O Debtor 2 only
      O Debtor 1 and Debtor 2 only                                                Type of NONPRIORITY unsecured claim:
      0 At least one of the debtors and another                                   O   Student loans

      U Check if this claim is for a community debt                               O   Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
      Is the claim subject to offset?                                             O   Debts to pension or profit-sharing plans, and other similar debts
      co No                                                                       tif Other. Specify    Loan
      0 Yes

      Avant                                                                       Last 4 digits of account number         5 0 1 0                           2,269.00
      Nonpriority Creditor's Name                                                 When was the debt incurred?            05/02/17
      222 N. LaSalle St., Suite 1600
      Number            Street
        Chicago                                     IL             60601          As of the date you file, the claim is: Check all that apply.
      City                                          State         ZIP Code
                                                                                  O   Contingent
      Who incurred the debt? Check one.                                               Unliquidated
                                                                                  O   Disputed
        WI Debtor 1 only
        O Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
        CI Debtor 1 and Debtor 2 only
        0 At least one of the debtors and another                                 0   Student loans
                                                                                  O   Obligations arising out of a separation agreement or divorce
        O Check if this claim is for a community debt                                 that you did not report as priority claims
      Is the claim subject to offset?                                             O   Debts to pension or profit-sharing plans, and other similar debts

        VI No                                                                     La Other. Specify     Installment account
        O Yes

        Conn Credit Corp                                                          Last 4 digits of account number               9     1    0                 3,655.00
      Nonpriority Creditors Name
                                                                                  When was the debt incurred?            06/01/20
        P.O. Box 2358
      Number            Street
          Beaumont                                   TX            77704
                                                                                  As of the date you file, the claim is: Check all that apply.
      City                                          State         ZIP Code
                                                                                  O   Contingent
      Who incurred the debt? Check one.
                                                                                      Unliquidated
        cif Debtor 1 only
                                                                                  O   Disputed
        O Debtor 2 only
        O Debtor 1 and Debtor 2 only
                                                                                  Type of NONPRIORITY unsecured claim:
        0 At least one of the debtors and another
                                                                                  O   Student loans
        U Check if this claim is for a community debt                             O   Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
        Is the claim subject to offset?
                                                                                  O   Debts to pension or profit-sharing plans, and other similar debts
             No
                                                                                  LX Other. Specify      Installment account
        O Yes




Official Form 106E/F                                        Schedule EIF: Creditors Who Have Unsecured Claims                                               page3 of 18
                  Case 20-71589-pwb                     Doc 1        Filed 11/10/20 Entered 11/10/20 14:52:45                                      Desc
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Debtor 1           Randy                 Jason        Adams                                                Case number Of known)
                   First Name      Middle Name        Last Name




 Part 2:          Your NONPRIORITY Unsecured Claims — Continuation Page


After listing any entries on this Page, number them beginning with 4.4, followed by 4.5, and So forth.

4.4
                                                                                    Last 4 digits of account number                9   9   9   2            $ 1,970.001
      AMEX
      Nonpriority Creditors Name
                                                                                    When was the debt incurred?                09/17/18
      P.O. Box 981537
      Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
      El Paso                                       TX             79998
      City                                          State         ZIP Code                  Contingent
                                                                                    •       Unliquidated
      Who incurred the debt? Check one.                                             LI      Disputed
      V . Debtor 1 only
      1:1 Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      1=1 Debtor 1 and Debtor 2 only                                                LI      Student loans
      ip At least one of the debtors and another
                                                                                    LI Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
      LI Check if this claim is for a community debt
                                                                                    LI Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               ▪       Other. Specify     Credit Card
      g      No
      O Yes




                                                                                    Last 4 digits of account number                6   6   4   5            $ 1 740.00
      Credit One Bank
      Nonpriority Creditors Name
                                                                                    When was the debt incurred?                08/11/17
      P.O. Box 98872
      Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
      Las Vegas                                      NV            89193
      City                                          State         ZIP Code          1=1 Contingent
                                                                                            Unliquidated
      Who incurred the debt? Check one.                                             U Disputed
      V Debtor 1 only
      O Debtor 2 only                                                               Type of NONPRIORITY unsecured claim:
      1:1 Debtor 1 and Debtor 2 only
                                                                                    LI      Student loans
      1=1 At least one of the debtors and another                                   LI Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
      O Check if this claim is for a community debt
                                                                                    LI Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                               IV Other. Specify          Credit Card
      Wt1 No
      LI Yes

                                                                                                                                                            $ 1,865.00
                                                                                    Last 4 digits of account number                4   7   9   6
      Credit One Bank
      Nonpriority Creditors Name
                                                                                    When was the debt incurred?                06/07/15
      P.O. Box 98872
      Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
      Las Vegas                                      NV            89193
      City                                          State         ZIP Code              O Contingent
                                                                                            Unliquidated
      Who incurred the debt? Check one.                                             U Disputed
      V Debtor 1 only
      1=1 Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
      U Debtor 1 and Debtor 2 only                                                  1=1 Student loans
      U At least one of the debtors and another                                     O Obligations arising out of a separation agreement or divorce that
                                                                                        you did not report as priority claims
      LI Check if this claim is for a community debt
                                                                                    1=1 Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                   •   Other. Specify     Credit Card
      14 No
      LI Yes




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                               page4   0f 18
                      Case 20-71589-pwb                    Doc 1        Filed 11/10/20 Entered 11/10/20 14:52:45                                           Desc
                                                                       Petition Page 39 of 70
    Debtor 1           Randy                  Jason      Adams                                                Case number (if known)
                       First Name       Middle Name      Last Name




FM                    Your NONPRIORITY Unsecured Claims — Continuation Page


    After listing any entries on this/page, number them beginning with 4,4, followed by 4.5, and so forth.



           Dept ED/OSLA                                                                Last 4 digits of account number                 5   Q. Q. 0                 $ 6,600.00
          Nonpriority Creditor's Name
                                                                                       When was the debt incurred?                 07/24/03
          525 Central Park Drive, Suite 600
          Number            Street
h                                                                                      As of the date you file, the claim is: Check all that apply.
          Oklahoma City                                OK             73105
          City                                         State         ZIP Code          O       Contingent
                                                                                       •       Unliquidated
          Who incurred the debt? Check one.                                            CI      Disputed
          V Debtor 1 only
          CI Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
          CI Debtor 1 and Debtor 2 only                                                O       Student loans
          CI At least one of the debtors and another                                   O       Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
          O Check if this claim is for a community debt
                                                                                       O       Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                              O       Other. Specify
          V      No
          O Yes




                                                                                       Last 4 digits of account number                 7   9   9   3               $ 1,700.00'
          OLLO/TBOM
          Nonpriority Creditors Name
                                                                                       When was the debt incurred?                 09/02/18
          P.O. Box 9222
          Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
          Old Bethpage                                  NY            11804
          City                                         State         ZIP Code          O       Contingent
                                                                                       •       Unliquidated
          Who incurred the debt? Check one.                                            O       Disputed
          V      Debtor 1 only
          O Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
          O Debtor 1 and Debtor 2 only
                                                                                       O       Student loans
          0 At least one of the debtors and another                                    •       Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
          CI     Check if this claim is for a community debt
                                                                                       O       Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                              ✓       Other. Specify     Account
          VI     No
          0 Yes
    4.9                                                                                                                                                            $ 3,899.00!
                                                                                       Last 4 digits of account number                 4   4 j.     9
          SYNCB/PPC
          Nonprionty Creditors Name
                                                                                       When was the debt incurred?                 02/26/18
          P.O. Box 965005
          Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
          Orlando                                       FL            32896
          City                                         State         ZIP Code              O   Contingent
                                                                                           •   Unliquidated
          Who incurred the debt? Check one.                                            CI      Disputed
          V      Debtor 1 only
          O Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
          O Debtor 1 and Debtor 2 only
                                                                                           O   Student loans
          0 At least one of the debtors and another                                        O   Obligations arising out of a separation agreement or divorce that
                                                                                               you did not report as priority claims
          O Check if this claim is for a community dabt
                                                                                           O   Debts to pension or profit-sharing plans, and other similar debts
          Is the claim subject to offset?                                                  ✓   Other. Specify      Credit Card
                 No
          O Yes




Official Form 106E/F                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 5   of 18
                   Case 20-71589-pwb                   Doc 1        Filed 11/10/20 Entered 11/10/20 14:52:45                                           Desc
                                                                   Petition Page 40 of 70
Debtor 1            Randy                  Jason     AcIA.ns                                               Case number (if known)
                    First Name       Middle Name     Last Name


Part 2:         Your NONPRIORITY Unsecured Claims — Continuation Page


After listing any entries on this iiage, number them beginning With 4.4, followed



                                                                                   Last 4 digits of account number                      8   6   0               $ 5,759.00
       US Dep ED
       Nonpriority Creditor's Name
                                                                                   When was the debt incurred?                  09/30/11
       P.O. Box 5609
       Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Greenville                                  TX             75403
       City                                        State         ZIP Code          ✓        Contingent
                                                                                   •        Unliquidated
       Who incurred the debt? Check one.                                           O        Disputed
       V      Debtor 1 only
       O Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
       O Debtor 1 and Debtor 2 only                                                CI       Student loans
       0 At least one of the debtors and another                                   O        Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
       O Check if this claim is for a community debt
                                                                                   O        Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                             O        Other. Specify
       g      No
       LI Yes


4.11
                                                                                   Last 4 digits of account number                  2   6   4   4               $ 2,936.00
       Wells Fargo
       Nonpriority Creditor's Name
                                                                                   When was the debt incurred?                  04/11/14
       P.O. Box 14517
       Number             Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Des Moines                                   IA            50306
       City                                        State         ZIP Code          O        Contingent
                                                                                   •        Unliquidated
       Who incurred the debt? Check one.                                           O        Disputed
       V      Debtor 1 only
       O Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
       O Debtor 1 and Debtor 2 only
                                                                                   O        Student loans
       0 At least one of the debtors and another                                       O    Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
       O Check if this claim is for a community debt
                                                                                       O    Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 ▪    Other. Specify     Account
       Ig No
       O Yes

4.12
                                                                                                                                                                $ 4,773• 00
                                                                                   Last 4 digits of account number                  6   5   5   7
       Impact Rec Mng
       Nonpriodty Creditor's Name
                                                                                   When was the debt incurred?                  05/20/18
        11104 W. Airport Blvd, Suite 199
       Number             Street
                                                                                   As of the date you file, the claim is: Check all that apply.
        Stafford                                    TX            77477
       City                                        State         ZIP Code              O    Contingent
                                                                                       •    Unliquidated
       Who incurred the debt? Check one.                                               •    Disputed
       V      Debtor 1 only
        O Debtor 2 only                                                                Type of NONPRIORITY unsecured claim:
        O Debtor 1 and Debtor 2 only                                                   CI   Student loans
       0 At least one of the debtors and another                                       O    Obligations arising out of a separation agreement or divorce that
                                                                                            you did not report as priority claims
       CI     Check if this claim is for a community debt
                                                                                       O    Debts to pension or profit-sharing plans, and other similar debts
       lathe claim subject to offset?                                                  64 Other. Specify        Collection: X GFI Mcimt Service
              No
       0      Yes




Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 6 of 18
                 Case 20-71589-pwb                       Doc 1      Filed 11/10/20 Entered 11/10/20 14:52:45                                         Desc
                                                                   Petition Page 41 of 70
Debtor 1           Randy                   Jason     Adams                                                Case number (if known)
                   First Name        Middle Name     Last Name




                Your NONPRIORITY Unsecured Claims — Continuation Page



After listing any entries 64 this pace, number them beginning with 4.4 followed by 4.5, and so forth.


4.13
                                                                                   Last 4 digits of account number _1                      7   8              $     299.00
       Sprint
       Nonpriority Creditors Name
                                                                                   When was the debt incurred?                 02/08/20
        PO Box 4191
       Number           Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Carol Stream                                 IL            60197
       City                                        State         ZIP Code          O Contingent
                                                                                   •       Unliquidated
       Who incurred the debt? Check one.                                           O Disputed
              Debtor 1 only
       O Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
       O Debtor 1 and Debtor 2 only                                                O Student loans
       0 At least one of the debtors and another                                   O Obligations arising out of a separation agreement or divorce that
                                                                                     you did not report as priority claims
       O Check if this claim is for a community debt
                                                                                   O Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                             g       Other. Specify     Account
       g No
       O Yes




                                                                                   Last 4 digits of account number                 7   8 LI_ 1                $ 3,899.001
       Paypal
       Nonpriority Creditors Name
                                                                                   When was the debt incurred?                 08/12/19
       P.O. Box 965005
       Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Orlando                                      FL            32896
       City                                        State         ZIP Code          CI      Contingent
                                                                                           Unliquidated
       Who incurred the debt? Check one.                                           O Disputed
       Vf Debtor 1 only
       O Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
       O Debtor 1 and Debtor 2 only                                                O Student loans
       0 At least one of the debtors and another                                   O Obligations arising out of a separation agreement or divorce that
                                                                                     you did not report as priority claims
       O Check if this claim is for a community debt
                                                                                   O Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                     Other. Specify     account
       64 No
       0 Yes

                                                                                                                                                              $ 5,053.00 i
                                                                                   Last 4 digits of account number                     3   6   2
       Chase Bank USA
       Nonpriority Creditor s Name
                                                                                   When was the debt incurred?
       P.O. Box 15298
       Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
       Wilmington                                   DE            19850
       City                                        State         ZIP Code              O Contingent
                                                                                       •   Unliquidated
       Who incurred the debt? Check one.                                               O Disputed
              Debtor 1 only
       O Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
       O Debtor 1 and Debtor 2 only                                                    O Student loans
       O At least one of the debtors and another                                       O Obligations arising out of a separation agreement or divorce that
                                                                                          you did not report as priority claims
       CI Check if this claim is for a community debt                                  CI Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                 Wi Other. Specify      Account
         No
       O Yes




Official Form 106E/F                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                      page7   0f18
                   Case 20-71589-pwb                        Doc 1        Filed 11/10/20 Entered 11/10/20 14:52:45                                            Desc
                                                                        Petition Page 42 of 70
Debtor 1            Randy                  Jason         Adams                                                   Case number (if known)
                    First Name       Middle Name          Last Name


                Your NONPRIORITY Unsecured Claims — Continuation Page


 After listing any entries on thiS page, number them beginning with 4.4, followed by 4.5, and so forth.



                                                                                          Last 4 digits of account number                 5   3   0   9               $ 1,667.001
       Bank of Missouri
       Nonpriority Creditor's Name
                                                                                          When was the debt incurred?
       916 North Kings Highway
       Number            Street
                                                                                          As of the date you file, the claim is: Check all that apply.
       Perryville                                       MO             62775
       City                                             State         ZIP Code            O       Contingent
                                                                                          •       Unliquidated
       Who incurred the debt? Check one.                                                  •       Disputed
       1411 Debtor 1 only
       U Debtor 2 only                                                                    Type of NONPRIORITY unsecured claim:
       •      Debtor 1 and Debtor 2 only                                                  U       Student loans
       ▪      At least one of the debtors and another                                     •       Obligations arising out of a separation agreement or divorce that
                                                                                                  you did not report as priority claims
       U Check if this claim is for a community debt
                                                                                          D       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                    g       Other. Specify    Credit Card
       tif No
       U      Yes



4.17
       Citi Bank/ Home Depot                                                              Last 4 digits of account number             _4 _4 _2 _7                     $ 1,910.00 1
       Nonpriority Creditors Name
                                                                                          When was the debt incurred?
       P.O. Box 7032
       Number             Street
                                                                                      •   As of the date you file, the claim is: Check all that apply.
       Sioux Falls                                       SC            57117
       City                                             State         ZIP Code            ▪       Contingent
                                                                                           - 1 Unliquidated
                                                                                          14
       Who incurred the debt? Check one.                                                  U       Disputed
              Debtor 1 only
       U Debtor 2 only                                                                    Type of NONPRIORITY unsecured claim:
       U Debtor 1 and Debtor 2 only                                                       U       Student loans
       U      At least one of the debtors and another                                     ▪       Obligations arising out of a separation agreement or divorce that
                                                                                                  you did not report as priority claims
       U Check if this claim is for a community debt
                                                                                          U       Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                        •   Other. Specify      Charge Account
              No
       U      Yes

4,18                                                                                                                                                                  $ 6,468.001
                                                                                          Last 4 digits of account number                 4 _9    3   7
       Target National Bank
       Nonpriority Creditors Name
                                                                                          When was the debt incurred?
       P.O. Box 673
       Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
           Minneapolis                                   MN            55440
       City                                             State         ZIP Code                ▪   Contingent
                                                                                              •   Unliquidated
       Who incurred the debt? Check one.                                                      U   Disputed
              Debtor 1 only
       U Debtor 2 only                                                                    Type of NONPRIORITY unsecured claim:
       U Debtor 1 and Debtor 2 only                                                           O   Student loans
       U      At least one of the debtors and another                                         ▪   Obligations arising out of a separation agreement or divorce that
                                                                                                  you did not report as priority claims
       U Check if this claim is for a community debt
                                                                                              U   Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                            Other. Specify
              No
       ▪      Yes




Official Form 106E/F                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                      page 8   0f18
                Case 20-71589-pwb                       Doc 1       Filed 11/10/20 Entered 11/10/20 14:52:45                                       Desc
                                                                   Petition Page 43 of 70
Debtor 1          Randy                    .lasOn    Atiams                                              Case number (fl known)
                 First Name          Middle Name      Lad Name


Part 2:       Your NONPRIORITY Unsecured Claims — Continuation Page


After listing any entries on tiiis page, number them beginning with 4.4, followed by 4.5, and so forth.


                                                                                    Last 4 digits of account number               7   6   8   3            $ 4,509.00
       Webbank
       Nonpriority Creditor's Name
                                                                                    When was the debt incurred?
       215 State St Suite 1000
       Number         Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       Salt Lake City                               UT             84111
       City                                         State        ZIP Code           O Contingent
                                                                                          Unliquldated
       Who incurred the debt? Check one.                                            O Disputed
       cl Debtor 1 only
       LI Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
       O Debtor 1 and Debtor 2 only                                                 O Student loans
       0 At least one of the debtors and another                                    O Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
       O Check if this claim is for a community debt
                                                                                    O Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              IR1 Other. Specify       Account: Dell Financial
       VI No
       O Yes


4.20
                                                                                    Last 4 digits of account number
       Nonpdority Creditor s Name
                                                                                    When was the debt incurred?

       Number          Street
                                                                                    As of the date you file, the claim is: Check all that apply.

       City                                         State         ZIP Code          0      Contingent
                                                                                    •      Unliquidated
       Who incurred the debt? Check one.                                            O Disputed
       O Debtor 1 only
       O Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
       O Debtor 1 and Debtor 2 only                                                 O Student loans
       0 At least one of the debtors and another                                    O Obligations arising out of a separation agreement or divorce that
                                                                                      you did not report as priority claims
       O Check if this claim is for a community debt
                                                                                    O Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              O Other. Specify
       U No
       O Yes

4 21
                                                                                    Last 4 digits of account number
       Nonpnonty Creditors Name
                                                                                    When was the debt incurred?

       Number          Street
                                                                                    As of the date you file, the claim is: Check all that apply.

       City                                         State         ZIP Code          0      Contingent
                                                                                    •      Unliquidated
       Who incurred the debt? Check one.                                            O Disputed
       O Debtor 1 only
       O Debtor 2 only                                                              Type of NONPRIORITY unsecured claim:
       O Debtor 1 and Debtor 2 only                                                 O Student loans
       0 At least one of the debtors and another                                    O Obligations arising out of a separation agreement or divorce that
                                                                                       you did not report as priority claims
       O Check if this claim is for a community debt
                                                                                    LI Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                  O Other. Specify
       La No
        O Yes




Official Form 106E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                               page9   of 18
               Case 20-71589-pwb                    Doc 1    Filed 11/10/20 Entered 11/10/20 14:52:45                                     Desc
                                                            Petition Page 44 of 70
Debtor 1       Rand                 JasculAcla.nas                                             Case number 0/ known)
               Firat Nam      Middle Name    Last Name


             List Others to Be Notified About a Debt That You Already Listed

6. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 'I or 2. For
   example, if a collection age,ncy is trying to collect from you for a debt you owe to someone else, list the original creditor In Parts 1 or
   2, then list the collection agency here. Similarly,. If you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
   additional creditors here. If oU do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

      Convergent Outsourcing Inc                                       On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

      800 SW 39th St.                                                  Line    4.13   of (Check one):   0   Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                                 Part 2: Creditors with Nonpriority Unsecured Claims
      P.O. Box 9004
                                                                       Last 4 digits of account number         1   2       7   8
      Renton                                WA        98057
      City                                  State        ZIP Code


      Midland Credit Management                                         On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

       350 Camino De La Reina #100                                      Line   4.19 of   (Check one): 0     Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                             la Part 2: Creditors with Nonpriority Unsecured
                                                                        Claims

      San Diego                             CA        92108             Last 4 digits of account number        7       6   8 _3
      City                                  State        ZIP Code


                                                                        On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                        Line          of (Check one): U Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                             O Part 2: Creditors with Nonpriority Unsecured
                                                                        Claims

                                                                        Last 4 digits of account number
                                            State        ZIP Code

                                                                        On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                        Line          of (Check one): 0     Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                             O Part 2: Creditors with Nonpriority Unsecured
                                                                        Claims

                                                                        Last 4 digits of account number
      City                                  State        ZIP Code


                                                                        On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                        Line          of (Check one): U Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                             •   Part 2: Creditors with Nonpriority Unsecured
                                                                        Claims

                                                                        Last 4 digits of account number
      City                                  State        ZIP Code

                                                                        On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                        Line          of (Check one): 0     Part 1: Creditors with Priority Unsecured Claims
      Number         Street                                                                             O Part 2: Creditors with Nonpriority Unsecured
                                                                        Claims

                                                                        Last 4 digits of account number
      City                                  State        ZIP Code


                                                                        On which entry in Part 1 or Part 2 did you list the original creditor?
      Name

                                                                        Line          of (Check one):   0    Part 1: Creditors with Priority Unsecured Claims
      Number         Street
                                                                                                        0    Part 2: Creditors with Nonpriority Unsecured
                                                                        Claims


      City                                  State        ZIP Code
                                                                        Last 4 digits of account number



Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                               page17 of 18
            Case 20-71589-pwb                        Doc 1       Filed 11/10/20 Entered 11/10/20 14:52:45                      Desc
                                                                Petition Page 45 of 70
 Debtor 1        Randy                Jason        Adams                                Case number or known)
                 First Namb     Middle Name         Last Name



 Part 4:    Add the Amounts for Each Type of Unsecured Claim


 6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts foriach type of unsecured claim.




 Total claims
                   6a.Domestic support obligations                            6a.                          0.00
 from Part 1
                   6b.Taxes and certain other debts you owe the
                      government                                              6b.                          0.00
                   6c. Claims for death or personal injury while you were
                       intoxicated                                            6c.                          0.00
                   6d. Other. Add all other priority unsecured claims.
                       Write that amount here.                                6d. + $                      0.00


                   6e. Total. Add lines 6a through 6d.                        6e.
                                                                                                           0.00




                   6f. Student loans                                          6f.                  12,359.00
  Total claims
' from Part 2
                   6g. Obligations arising out of a separation agreement
                       or divorce that you did not report as priority
                       claims                                                 6g.   $                      0.00
                   6h.Debts to pension or profit-sharing plans, and other
                      similar debts                                           6h.                          0.00

                   6i. Other. Add all other nonpriority unsecured claims.
                       Write that amount here.                                61.   $              48,589.00


                   6j. Total. Add lines 6f through 61.                        6j.
                                                                                                   60,948.00




 Official Form 106E/F                                    Sch
                                                            Vi g eaNUerAgIMAMtipT*ARMred Claims                                         page 18 of 18
                Case 20-71589-pwb                     Doc 1      Filed 11/10/20 Entered 11/10/20 14:52:45                                   Desc
                                                                Petition Page 46 of 70

 Fill in this information to identify your case:


 Debtor               Randy                Jason               Adams
                      First Name             Middle Name                Lest Name

 Debtor 2
 (Spouse If filing)   First Name             Middle Name                Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number
  (If known)                                                                                                                             LI Check if this is an
                                                                                                                                            amended filing .



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case timber (if known).


 1. Do you have any executory contracts or unexpired leases?
        14 No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        1:1 Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



        Person or company with whom you have the contract or lease                              State what the contract or lease is for


2.11
        Name

        Number           Street

        City                            State       ZIP Code

2.2
        Name

        Number           Street

        City                            State
                                        _„--        ZIP Code


        Name

        Number           Street

                                                    ZIP Code


        Name

        Number           Street

                                         State      ZIP Code                                     ,

1 2.5
        Name

        Number           Street

        City                             State      ZIP Code


Official Form 106G                               Schedule G: Executory Contracts and Unexpired Leases                                           page 1 of 1
                Case 20-71589-pwb                             Doc 1            Filed 11/10/20 Entered 11/10/20 14:52:45                          Desc
                                                                              Petition Page 47 of 70

 Fill in this information to identify your case:

 Debtori            Randy                          Jason                   Adams
                    First Name                       Middle Name                   Last Name

 Debtor 2
 (Spouse, if filing) First Name                      Middle Name                   Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number
  (If known)
                                                                                                                                               CI Check if this is an
                                                                                                                                                  amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                  12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill It out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      WI No
      LI Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
    Arizona, California, Idaho, Louisiana, Nevada. New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
           No. Go to line 3.
      0 Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
        0 No
        CI Yes. In which community state or territory did you live?                        . Fill in the name and current address of that person.


                  Name of your spouse, former spouse, or legal equivalent



                  Number            Street



                 City                                              State                       ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
     shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
     Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
     Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                               Column 2: The creditor to whom you owe the debt

                                                                                                             Check all schedules that apply:

                                                                                                              O Schedule D, line
         Name
                                                                                                              O Schedule E/F, line
         Number            Street                                                                             O Schedule G, line

         City                                                         State                     ZIP Code



                                                                                                              O Schedule D, line
         Name
                                                                                                              O Schedule E/F, line
         Number            Street                                                                             O Schedule G, line

                                                                      State                     ZIP Code



                                                                                                              O Schedule D, line
         Name
                                                                                                              O Schedule E/F, line
         Number            Street                                                                             O Schedule G, line

         City                                                         State                     ZIP Code



Official Form 106H                                                              Schedule H: Your Codebtors                                          page 1 oft.
                 Case 20-71589-pwb                  Doc 1     Filed 11/10/20 Entered 11/10/20 14:52:45                                        Desc
                                                             Petition Page 48 of 70

 Fill in this information to iddntify your case:


 Debtor 1              Randy              Jaann             Ariamc
                       First Name          Middle Name                  Last Name

 Debtor 2
 (Spouse, if filing)   First Name          Middle Name                  Last Name


 United States Bankruptcy Court for the: Northern District of Georgia

 Case number                                                                                             Check if this is:
 (If known)
                                                                                                               An amended filing
                                                                                                               A supplement showing postpetition chapter 13
                                                                                                               income as of the following date:
Official Form 1061                                                                                             MM / DD / YYYY

Schedule I: Your Income                                                                                                                                12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include Information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space Is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (If known). Answer every question.


Mill                   Describe Employment


1. Fill in your employment
   information.                                                               Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with
    information about additional         Employment status                 RI Employed                                    U Employed
    employers.                                                             U Not employed                                 U    Not employed

    Include part-time, seasonal, or
    self-employed work.
                                         Occupation
    Occupation may include student
    or homemaker, if it applies.
                                         Employer's name                  AmeriCold Logistics

                                         Employer's address               10 Glendlake Parkway
                                                                           Number Street                                Number     Street
                                                                          Suite 600



                                                                          Atlanta                  GA     30328
                                                                           City            State    ZIP Code            City                  State ZIP Code

                                         How long employed there?



CM                     Give Details About Monthly Income

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                    For Debtor 1        For Debtor 2 or
                                                                                                                        non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions). If not paid monthly, calculate what the monthly wage would be.             2.      $   2,800.00

i 3. Estimate and list monthly overtime pay.                                                3. +$                      + $

 4. Calculate gross income. Add line 2 + line 3.                                            4.      $ 2,800.00                        0.00



Official Form 1061                                                Schedule I: Your Income                                                            page 1
            Case 20-71589-pwb                    Doc 1       Filed 11/10/20 Entered 11/10/20 14:52:45                                     Desc
                                                            Petition Page 49 of 70

Debtor 1       Randy              Jason        Adams                                         Case number (if known)
               First Name   Middle Name         Last Name



                                                                                            For Debtor 1              For Debtor 2 or
                                                                                                                      non-filing soouse

   Copy line 4 here                                                              4   4.     $    2,800.00                         0.00

 5 List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                               5a.    $      416.00               $
     5b. Mandatory contributions for retirement plans                                5b.    $                           $
     5c. Voluntary contributions for retirement plans                                5c.    $                           $
     5d. Required repayments of retirement fund loans                                5d.    $                           $
     5e. Insurance                                                                   5e.    $                           $
     5f. Domestic support obligations                                                5f.    $                           $
     5g. Union dues                                                                  5g.    $                           $
     5h. Other deductions. Specify:                                                  5h. + $                          + $

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.      6.     $      416.00                         0.00

 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.              7.     $    2,384.00                         0.00

 8. List all other income regularly received:
     8a. Net income from rental property and from operating a business,
         profession, or farm
         Attach a statement for each property and business showing gross
         receipts, ordinary and necessary business expenses, and the total                             0.00
         monthly net income.                                                         8a,
     8b.Interest and dividends                                                       8b.    $          0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
         Include alimony, spousal support, child support, maintenance, divorce                         0.00
         settlement, and property settlement.                                  8c.
     8d. Unemployment compensation                                                   8d.    $          0.00
     8e.Social Security                                                              8e.    $
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify:                                                                  8f.      $          0.00

     8g.Pension or retirement income                                                 8g.    $

     8h.Other monthly income. Specify:                                               8h. + $           0.00           +$

     Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.            9.               0.00                       0.00

 10.Calculate monthly income. Add line 7 + line 9.                                                                                0.00       $      2,384.00
                                                                                            $    2,384.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.        10.

 11.State all other regular contributions to the expenses that you list in Schedule J
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                          11.+

 12.Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                12.    $      2,384.00
                                                                                                                                             Combined
                                                                                                                                             monthly income
! 13. Do you expect an increase or decrease within the year after you file this form?
      21 No.
      LI Yes. Explain:


Official Form 1061                                             Schedule I: Your income                                                           page 2
                  Case 20-71589-pwb                          Doc 1    Filed 11/10/20 Entered 11/10/20 14:52:45                                    Desc
                                                                     Petition Page 50 of 70


  Fill in this information to identify your case:

   Debtor 1              Randy                  Jason              Adams
                         First Nero                 Middle Name              Last Name                        Check if this is:
   Debtor 2                                                                                                   lj An amended filing
   (Spouse, if filing)   First Name                 Middle Name              Last Name
                                                                                                              U A supplement showing postpetition chapter 13
   United States Bankruptcy Court for the: Northern District of Georgia                                         expenses as of the following date:
   Case number                                                                                                    MM / DD/ YYYY
   (If known)


 Official Form 106J
 Schedule J: Your Expenses                                                                                                                                   12/15

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
 information. If more space Is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
 (If known). Answer every question.

  Part 1:                Describe Your Household

1. Is this a joint case?

          No. Go to line 2.
    0 Yes. Does Debtor 2 live in a separate household?
                 LI No
                 0       Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                      0      No
                                                                                           Dependent's relationship to              Dependent's    Does dependent live
    Do not list Debtor 1 and                    g     Yes. Fill out this information for   Debtor 1 or Debtor 2                     age            with you?
    Debtor 2.                                         each dependent
                                                                                                                                                   21 No
    Do not state the dependents'                                                           Daughter                                 2
    names.                                                                                                                                         O Yes

                                                                                                                                                     No
                                                                                           Son                                      7
                                                                                                                                                   O Yes

                                                                                                                                                   O No
                                                                                                                                                   O Yes

                                                                                                                                                   O No
                                                                                                                                                   O Yes

                                                                                                                                                   O No
                                                                                                                                                   O Yes

 3. Do your expenses include
                                                       No
     expenses of people other than
                                                       Yes
   , yourself andyour dependents?

 Part 2:          Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
 expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
 applicable date.
 Include expenses paid for with non-cash government assistance if you know the value of
 such assistance and have included It on Schedule!: Your Income (Official Form 1061.)                                                   Your expenses

  4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                        600.00
     any rent for the ground or lot.                                                                                          4.

      If not Included in line 4:
       4a. Real estate taxes                                                                                                  4a.       $

       4b. Property, homeowner's, or renter's insurance                                                                       4b.       $

       4c. Home maintenance, repair, and upkeep expenses                                                                      4c.       $                60.00
       4d. Homeowner's association or condominium dues                                                                        4d.       $

Official Form 106J                                                   Schedule J: Your Expenses                                                            page 1
                 Case 20-71589-pwb                Doc 1       Filed 11/10/20 Entered 11/10/20 14:52:45                             Desc
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 Debtor 1         Randy               Jason     Adams                                    Case number (if known)
                 First Name     Middle Name      Last Name




                                                                                                                         Your expenses


 5. Additional mortgage payments for your residence, such as home equity loans                                    5.

 6. Utilities:
      6a.   Electricity, heat, natural gas                                                                        6a.    $               160.00
      6b. Water, sewer, garbage collection                                                                        6b.    $                95.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.    $                45.00
      6d.   Other. Specify:                                                                                       6d.    $

 7. Food and housekeeping supplies                                                                                7.                     150.00
 8. Childcare and children's education costs                                                                      8.                     250.00
 0. Clothing, laundry, and dry cleaning                                                                           9.                      50.00
10. Personal care products and services                                                                           10.    $                50.00
11. Medical and dental expenses                                                                                   11.    $

12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                                         120.00
      Do not include car payments.                                                                                12.

13.   Entertainment, clubs, recreation, newspapers, magazines, and books                                          13.    $                 0.00
14. Charitable contributions and religious donations                                                              14.    $

15. Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.

      15a. Life insurance                                                                                         15a.

      15b. Health insurance                                                                                       15b.                     0.00
      15c.Vehicle insurance                                                                                       15c.                   162.00
      15d. Other insurance. Specify:                                                                              15d.


16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                                                    16.

17. Installment or lease payments:

      17a. Car payments for Vehicle 1                                                                             17a.                   300.00
      17b. Car payments for Vehicle 2                                                                             17b.

      17c.Other. Specify:                                                                                         17c.

      17d. Other. Specify:                                                                                        17d.

18. Your payments of alimony, maintenance, and support that you did not report as deducted from
    your pay on line 5, Schedule Your Income (Official Form 1061).                                                 18.   $


19. Other payments you make to support others who do not live with you.
      Specify:                                                                                                     19.   $

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule     Your Income.

      20a.Mortgages on other property                                                                             20a.   $

      20b.Real estate taxes                                                                                       20b.   $

      20c. Property, homeowner's, or renter's insurance                                                           20c.   $

      20d.Maintenance, repair, and upkeep expenses                                                                20d.   $

      20e.Homeowner's association or condominium dues                                                             20e.   $



Official Form 106J                                           Schedule J: Your Expenses                                                     page 2
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 Debtor 1        Randy                Jason      Adams                                        Case number   (if known)
                 First Name    Middle Name        Last Name




21.    Other. Specify:                                                                                                   21.   +$



22.    Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                                 22a.             2,042.00
       22b. Copy line 22 (monthly expenses for Dettor 2), if any, from Official Form 106J-2                         22b.

       22c. Add line 22a and 22b. The result is your monthly expenses.                                              22c.             2,042.00


23. Calculate your monthly net income.
                                                                                                                                     2,384.00
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                            23a.

      23b.   Copy your monthly expenses from line 22c above.                                                         23b.       $    2,042.00

      23c.   Subtract your monthly expenses from your monthly income.
                                                                                                                                      342.00
             The result is your monthly net income.                                                                  23c.




24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      121 No.
      0 Yes.       Explain here:




Official Form 106J                                            Schedule J: Your Expenses                                                 page 3
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Fill in this information to identify your case:

Debtor 1              Randy                  Jason            Adams
                      First Name              Middle Name                 Last Name

Debtor 2
(Spouse, if filing)   First Name •            Middle Name                 Last Name


United States Bankruptcy Court for the: Northern District of Georgia
Case number                                                                                                                                 Check if this is an
 (If known)                                                                                                                                 amended filing




  Official Form 108
  Statement of Intention for Individuals Filing Under Chapter 7                                                                                       12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
  • creditors have claims secured by your property, or
  • you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

                       List Your Creditors Who Have Secured Claims

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

              Identify the creditor and the property that is collateral               What do you intend to do with              Did you claim the property
                                                                                      secures a debt?                            as exempt on Schedule C?

           Creditor's
                      M&T Bank
                                                                                      0 Surrender the property.                  1:1 No
           name:
                                                                                      0 Retain the property and redeem it.       11:1 Yes
          Description of 9576 Briarcreek Lane
                                                                                         Retain the property and enter into a
          property
          securing debt: Jonesboro, Ga                                                   Reaffirmation Agreement.
                                                                                      0 Retain the property and [explain]:


          Creditor's                                                                  0 Surrender the property.                  0 No
          name:               Wells Fargo Auto Services
                                                                                      0 Retain the property and redeem it.       Ig Yes
           Description of 2011 Lexus GS 350
                                                                                      121 Retain the property and enter into a
           property
           securing debt:                                                                 Reaffirmation Agreement.
                                                                                      0 Retain the property and [explain]:

           Creditor's                                                                 0 Surrender the property.                  0 No
           name:
                                                                                      0 Retain the property and redeem it.       0 Yes
           Description of
           property
                                                                                      0 Retain the property and enter into a
           securing debt:                                                                Reaffirmation Agreement.
                                                                                      CI Retain the property and [explain]:

           Creditor's                                                                 0 Surrender the property.                  0 No
           name:
                                                                                      0 Retain the property and redeem it.       0 Yes
           Description of
           property
                                                                                      0 Retain the property and enter into a
           securing debt:                                                                Reaffirmation Agreement.
                                                                                      CI Retain the property and [explain]:


   Official Form 108                             Statement of intention for individuals Filing Under Chapter 7                               page 1
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Debtor 1          Randy                  Jason    Adams                                       Case number (If known)
                  First Name       Middle Name     Last Name




  Part 2:         List Your Unexpired Personal Property Leases

  For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
  fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
  ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

          Describe your unexpired personal property leases                                                             Will the lease be assumed?

      Lessor's name:                                                                                                   0 No
                                                                                                                       0 Yes
      Description of leased
      property:


       Lessor's name:                                                                                                  0 No
                                                                                                                         Yes
       Description of leased
       property:


       Lessor's name:                                                                                                    No
                               ,
       Description of leased                                                                                             Yes
       property:


       Lessor's name:                                                                                                    No
                                                                                                                         Yes
       Description of leased
       property:


       Lessor's name:
      ,
       Description of leased
       property:


       Lessor's name:                                                                                                    No
                                                                                                                       0 Yes
       Description of leased
       property:


          Lessor's name:
                           -----
          Description of leased
          property:




  Part 3:          Sign Below



     Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
     personal property that is subject to an unexpired lease.




       Signature of De                                              Signature of Debtor 2

       Date                                                         Date
               MM! DD                                                      MM! DD/ YYYY




Official Form 108                                Statement of intention for Individuals Filing Under Chapter 7                          page 2
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 Fill in this information to identify your case:...

 Debtor 1              Randy                   Jason           Adams
                       First Name               Middle Name                Last Name

 Debtor 2
 (Spouse, if filing)   First Name               Middle Name                Last Name


  United States Bankruptcy Court for the:   Northern District of Georgia

  Case number                                                                                                                        0 Check if this is an
                       (If known)                                                                                                      amended filing




Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                            12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Part 1:         Summarize Your Assets


                                                                                                                                  Your assets
                                                                                                                                  Value of what you own
1. Schedule AVB: Property (Official Form 106A/P)
                                                                                                                                      $    125,000.00
   Ia. Copy line 55, Total real estate, from Schedule A/B


      lb. Copy line 62, Total personal property, from Schedule NB                                                                            13,235.00

      lc. Copy line 63, Total of all property on Schedule NB                                                                          $    138,235.00


                Summarize Your Liabilities


                                                                                                                                   Your liabilities
                                                                                                                                   Amount you owe
 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
                                                                                                                                      $    114,315.00
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D


 3.   Schedule ELF: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                      0.00
      3a.Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F

      3b.Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F                                       60,948.00
                                                                                                                                   +$

                                                                                                         Your total liabilities             175,263.00


1:31            Summarize Your Income and Expenses


 4. Schedule I: Your Income (Official Form 1061)
                                                                                                                                               2,384.00
    Copy your combined monthly income from line 12 of Schedule I

 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J
                                                                                                                                               2,042.00




Official Form 106Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information                 page 1 of 2
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  Debtor 1         Randy               Jason        Adams                                      Case number (if known)
                   First Name    Middle Name         Last Name




                 Answer These Questions for Administrative and Statistical Records

  6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

      ij No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
      El Yes


   7. What kind of debt do you have?

             Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
             family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

      0 Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
             this form to the court with your other schedules.



   6. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
      Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                      1,911.00




   9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:




      9a.Domestic support obligations (Copy line 6a.)
                                                                                                                            0.00


      9b.Taxes and certain other debts you owe the government. (Copy line 6b.)                                              0.00

      9c.Claims for death or personal injury while you were intoxicated. (Copy line 6c.)
                                                                                                                            0.00


      9d.Student loans. (Copy line 6f.)
                                                                                                                        12,359.00

      9e. Obligations arising out of a separation agreement or divorce that you did not report as                            0.00
          priority claims. (Copy line 6g.)

      9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)         +$                      0.00


      9g.Total. Add lines 9a through 9f.                                                                                12,359.00




Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information                                             page 2 of 2
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Fill in this information to identify your case:


Debtor 1            Randy                Jason            Adams
                    First Name            Middle Name                  Last Name

Debtor 2
(Spouse, If filing) First Name            Middle Name                  Last Name


United States Bankruptcy Court for the: Northern District of Georgia

Case number
(If known)
                                                                                                                                                     U    Check if this is an
                                                                                                                                                          amended filing




  Official Form 106Dec
  Declaration About an Individual Debtor's Schedules                                                                                                                12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud In connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                     Sign Below



        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

        I:1 No
        g     Yes. Name of person   Jeffery Favors                                              . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                                   Signature (Official Form 119).




        Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
        that they are true and correct.




            Signature of De                                                Signature of Debtor 2


            Date                                                           Date
                   MM /                                                            MM / DD /   YYYY




   Official Form 106Dec                                     Declaration About an Individual Debtor's Schedules
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B2800 (Form 2800) (12/15)



                                 United States Bankruptcy Court
                              Northern                  District Of   Georgia

In re      Randy Jason Adams                                                        Case No.
                    Debtor
                                                                                    Chapter       7

               DISCLOSURE OF COMPENSATION OF BANKRUPTCY PETITION PREPARER
     [Must be filed with the petition if a bankruptcy petition preparer prepares the petition. 11 Us. C. § 110(h)(2).]

1.         Under 11 U.S.C. § 110(h), I declare under penalty of perjury that I am not an attorney or employee of an
           attorney, that I prepared or caused to be prepared one or more documents for filing by the above-named
           debtor(s) in connection with this bankruptcy case, and that compensation paid to me within one year before
           the filing of the bankruptcy petition, or agreed to be paid to me, for services rendered on behalf of the
           debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

For document preparation services I have agreed to accept                            $     175

Prior to the filing of this statement I have received                                       175

Balance Due                                                                                   0

2.         I have prepared or caused to be prepared the following documents (itemize):     see Form B119

and provided the following services (itemize):

3.         The source of the compensation paid to me was:
             Debtor                              Other (specify)

4.         The source of compensation to be paid to me is:
             Debtor                              Other (specify)

5.         The foregoing is a complete statement of any agreement or arrangement for payment to me for preparation
           of the petition filed by the debtor(s) in this bankruptcy case.

6.         To my knowledge no other person has prepared for compensation a document for filing in connection with
           this bankruptcy case except as listed below:

NAME                                            SOCIAL SECURITY NUMBER



                                                  XXX-XX-XXXX
                                                Social Security number of bankruptcy
                                                        ,preparer*
                                                                                                       9
                                               21;e3r                       Road, Ste 12, Suwanee, GA 30024
Printed name and title, if any, of              Address
Bankruptcy Petition Preparer


* If the bankruptcy petition preparer is not an individual, state the Social Security number of the officer, principal,
responsible person or partner of the bankruptcy petition preparer. (Required by 11 U.S.C. § 110).

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of
Bankruptcy Procedure may result in fines or imprisonment or both. 11 US. C. § 110; 18 Us. C. § 156.
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  Fill in this information to identify the case:

 Debtor 1          Randy                         Jason                      Adams
                    First Name                   Middle Name                Last Name

 Debtor 2
 (Spouse, if filing) First Name                  Middle Name                Last Name


 United States Bankruptcy Court for the: Northern District of Georgia


 Case number                                                                Chapter     7
  (If known)




Official Form 119
Bankruptcy Petition Preparer's Notice, Declaration, and Signature                                                                                       12/15

Bankruptcy petition preparers as defined in 11 U.S.C. § 110 must fill out this form every time they help prepare documents that are filed in the
case. If more than one bankruptcy petition preparer helps with the documents, each must sign in Part 3. A bankruptcy petition preparer who
does not comply with the provisions of title 11 of the United States Code and the Federal Rules of Bankruptcy Procedure may be fined,
imprisoned, or both. 11 U.S.C. § 110; 18 U.S.C. § 156.




 Part 1:         Notice to Debtor



 Bankruptcy petition preparers must give the debtor a copy of this form and have the debtor sign it before they prepare any documents for
 filing or accept any compensation. A signed copy of this form must be filed with any document prepared.

        Bankruptcy petition preparers are not attorneys and may not practice law or give you legal advice, including the following:

        •      whether to file a petition under the Bankruptcy Code (11 U.S.C. § 101 et seq.);

        •      whether filing a case under chapter 7, 11, 12, or 13 is appropriate;

        •      whether your debts will be eliminated or discharged in a case under the Bankruptcy Code;

        •      whether you will be able to keep your home, car, or other property after filing a case under the Bankruptcy Code;

        •      what tax consequences may arise because a case is filed under the Bankruptcy Code;

        ▪      whether any tax claims may be discharged;

        m whether you may or should promise to repay debts to a creditor or enter into a reaffirmation agreement;

        •      how to characterize the nature of your interests in property or your debts; or

        •      what procedures and rights apply in a bankruptcy case.



            The bankruptcy petition preparer Jeffery Favors                                                                        has notified me of
                                                      Name
            any maximum allowable fee before preparing any document for filing or accepting any fee.




                                                                                                           Date LP __L__
                                                                                                                      D
            Signature of Debtor 1 c       edgi   receipt oft                                                    M / DD / YYYY




                                                                                                           Date
            Signature of Debtor 2 acknowledging receipt of this notice                                            MM / DD / YYYY




Official Form 119                                   Bankruptcy Petition Preparer's Notice, Declaration, and Signature                             page 1
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Debtor 1       Randy                                Jason                      Adams                            Case number (11 known)
                First Name            Middle Name           Last Name




 Part 2:       Declaration and Signature of the Bankruptcy Petition Preparer


 Under penalty of perjury, I declare that:
 ▪   I am a bankruptcy petition preparer or the officer, principal, responsible person, or partner of a bankruptcy petition preparer;
 a I or my firm prepared the documents listed below and gave the debtor a copy of them and the Notice to Debtor by Bankruptcy Petition
   Preparer as required by 11 U.S.C. §§ 110(b), 110(h), and 342(b); and
 a if rules or guidelines are established according to 11 U.S.C. § 110(h) setting a maximum fee for services that bankruptcy petition
   preparers may charge, I or my firm notified the debtor of the maximum amount before preparing any document for filing or before
   accepting any fee from the debtor.

     Jeffery Favors
     Printed name                                        Title, if any                       Firm name, if it applies

     2133 Lawrenceville Suwanee Rd Ste 12
     Number                  Street

      Suwanee                                         GA            30024                     404-453-3487
     City                                                State           ZIP Code             Contact phone


     I or my firm prepared the documents checked below and the completed declaration is made a part of each document that I check:
     (Check all that apply.)

     21 Voluntary Petition (Form 101)                                       Schedule 1 (Form 1061)                            •     Chapter 11 Statement of Your Current Monthly
                                                                                                                                    Income (Form 122B)
            Statement About Your Social Security Numbers                     Schedule J (Form 106J)
            (Form 121)                                                                                                        •     Chapter 13 Statement of Your Current Monthly
                                                                             Declaration About an Individual Debtor's               Income and Calculation of Commitment Period
     IA Summary of Your Assets and Liabilities and                           Schedules (Form 106Dec)                                (Form 122C-1)
            Certain Statistical Information (Form 106Sum)
                                                                             Statement of Financial Affairs (Form 107)        O     Chapter 13 Calculation of Your Disposable
     RI Schedule A/B (Form 106A/B)                                                                                                  Income (Form 122C-2)
                                                                             Statement of Intention for Individuals Filing
     UI Schedule C (Form 106C)                                               Under Chapter 7 (Form 108)                       U     Application to Pay Filing Fee in Installments
                                                                                                                                    (Form 103A)
            Schedule D (Form 106D)                                           Chapter 7 Statement of Your Current
                                                                             Monthly Income (Form 122A-1)                           Application to Have Chapter 7 Filing Fee
     Ul Schedule E/F (Form 106E/F)
                                                                                                                                    Waived (Form 103B)
                                                                             Statement of Exemption from Presumption
     WI Schedule G (Form 106G)                                               of Abuse Under § 707(b)(2)                       O     A list of names and addresses of all creditors
                                                                             (Form 122A-1Supp)
     Gd Schedule H (Form 106H)                                                                                                      (creditor or mailing matrix)
                                                                             Chapter 7 Means Test Calculation                 Lid   Other   Pay Stubs
                                                                             (Form 122A-2)


     Bankruptcy petition preparers must sign and give their Social Security numbers. If more than one bankruptcy petition preparer prepared the documents
     to which this declaration applies, the signature and Social Security number of each preparer must be provided. 11 U.S.C. § 110.



                                                                                                   17 6 - 5 4 - 7 8 8 6                             Date
                               Cy petitio prepa      or officer, principal, responsible          Social Security number of person who signed               MM       YY



      Je ery Favors
     Printed name


                                                                                                                                                    Date
     Signature of bankruptcy petition preparer or officer, principal, responsible                Social Security number of person who signed               MM/DD/YYYY
     person, or partner



     Printed name




Official Form 119                                             Bankruptcy Petition Preparer's Notice, Declaration, and Signature                                          page 2
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                    UNITED STATES BANKRUPTCY COURT
             NORTHERN DISTRICT OF GEORGIA BANKRUPTCY COURT
In re
         Randy Jason Adams,

                                                                  Case No.

         [Set forth here all names including married,
         maiden and trade names used by debtor within
         last 8 years.]
                                              Debtor(s).
         Address
         9576 Briarcreek Lane
         Jonesboro, GA 30238
                                                                  Chapter 7
         Last four digits of Social Security or Individual
         Taxpayer-Identification (ITIN) No(s)., (if any):
         0213
         Employer Tax Identification (EIN) No(s). (if any):
         None.

                                      AFFIDAVIT OF MAILING

        I hereby swear that I mailed a copy of the herein-filed

          CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

to the U.S. Trustee at the following address:

        Office of the U.S. Trustee
        75 Spring Street SW
        Atlanta, GA 30303

and the below-listed creditor(s) at the address(es) indicated:

           Wells Fargo Auto
           P.O. Box 168048
           Irving, TX 75016

           M&T Bank
           P.O. Box 1288
           Buffalo, NY 14240


with First Class postage prepaid, on.




                                                                        AFFIDAVIT OF MAILING 1 -2
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State of Georgia
County of Gwinnett

       I certify that I know or have satisfactory evidence that Randy Jason Adams is the person
who appeared before me, and said person acknowledged that she (he) signed this instrument
and acknowledged it to be his (her) free and voluntary act for the uses and purposes
mentioned in the instrument.

         Dated                            7/262.0



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                                                                              AFFIDAVIT OF MAILING 2 - 2
                  Case 20-71589-pwb                   Doc 1    Filed 11/10/20 Entered 11/10/20 14:52:45                                     Desc
                                                              Petition Page 63 of 70
 Fill in this information to identify your case:                                                         Check one box only as directed in this form and in
                                                                                                         Form 1224-1Supp:
 Debtor 1          Randy                      Jason                     Adams
                    First Name                Middle Name               Last Name
                                                                                                     •      1. There is no presumption of abuse.
 Debtor 2
 (Spouse, if filing) First Name               Middle Name               Last Name                    U 2. The calculation to determine if a presumption of
                                                                                                          abuse applies will be made under Chapter 7
 United States Bankruptcy Court for the: Northern District of Georgia                                     Means Test Calculation (Official Form 122A-2).
 Case number                                                                                         U 3. The Means Test does not apply now because of
 (If known)                                                                                               qualified military service but it could apply later.


                                                                                                         U Check if this is an amended filing


Official Form 122A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                                         04/20

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(b)(2) (Official Form 122A-1Supp) with this form.

                    Calculate Your Current Monthly Income

   1. What is your marital and filing status? Check one only.
        10 Not married. Fill out Column A, lines 2-11.
        • Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
        U Married and your spouse is NOT filing with you. You and your spouse are:
              •      Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
              U      Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare
                     under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
                     spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).
         Fill in the average monthly Income that you received from all sources, derived during the 6 full months before you file this
         bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
         August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6.
         Fill in the result. Do not Include any income amount more than once. For example, if both spouses own the same rental property, put the
         income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                           Column A           Column B
                                                                                                           Debtor 1           Debtor 2 or
                                                                                                                              non-filing spouse
    2. Your gross wages, salary, tips, bonuses, overtime, and commissions
       (before all payroll deductions).                                                                     $      64.00        $

    3. Alimony and maintenance payments. Do not include payments from a spouse if
       Column B is filled in.
    4. All amounts from any source which are regularly paid for household expenses
       of you or your dependents, including child support. Include regular contributions
       from an unmarried partner, members of your household, your dependents, parents,
       and roommates. Include regular contributions from a spouse only if Column B is not
       filled in. Do not include payments you listed on line 3.
    5. Net income from operating a business, profession,                Debtor 1
       or farm
       Gross receipts (before all deductions)
         Ordinary and necessary operating expenses                      —$          —$
                                                                                               Copy
         Net monthly income from a business, profession, or farm           $                   here —)      $

    6. Net income from rental and other real property                   Debtor 1    Debtor 2
       Gross receipts (before all deductions)
       Ordinary and necessary operating expenses                        —$          —$
                                                                                               Copy
         Net monthly income from rental or other real property                                 here",       $
    7. Interest, dividends, and royalties
            -V

 Official Form 122A-1                             Chapter 7 Statement of Your Current Monthly Income                                                page 1
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Debtor 1        Randy                         Jason                Adams                      Case number Of known)
                First Name    Middle Name         Last Name


                                                                                                  Column A                Column B
                                                                                                  Debtor 1                Debtor 2 or
                                                                                                                          non-filing spouse
   8. Unemployment compensation                                                                     $   1,845• 00
      Do not enter the amount if you contend that the amount received was a benefit
      under the Social Security Act. Instead, list it here:             9
            For you
            For your spouse
   9. Pension or retirement income. Do not include any amount received that was a
      benefit under the Social Security Act. Also, except as stated in the next sentence, do
      not include any compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If you received any retired
      pay paid under chapter 61 of title 10, then include that pay only to the extent that it
      does not exceed the amount of retired pay to which you would otherwise be entitled if
      retired under any provision of title 10 other than chapter 61 of that title.
   10.Income from all other sources not listed above. Specify the source and amount. Do
      not include any benefits received under the Social Security Act; payments made under
      the Federal law relating to the national emergency declared by the President under the
      National Emergencies Act (50 U.S.C. 1601 et seq.) with respect to the coronavirus
      disease 2019 (COVID-19); payments received as a victim of a war crime, a crime
      against humanity, or international or domestic terrorism; or compensation, pension,
      pay, annuity, or allowance paid by the United States Government in connection with a
      disability, combat-related injury or disability, or death of a member of the uniformed
      services. If necessary, list other sources on a separate page and put the total below.




           Total amounts from separate pages, if any.

   11. Calculate your total current monthly income. Add lines 2 through 10 for each
       column. Then add the total for Column A to the total for Column B.                                                                          $ 1,911.00
                                                                                                                                               Total current
                                                                                                                                               monthly Income

                 Determine Whether the Means Test Applies to You

   12. Calculate your current monthly income for the year. Follow these steps:
       12a. Copy your total current monthly income from line 11                                                       Copy line 11 here+            1 911.00
                                                                                                                                               $
                Multiply by 12 (the number of months in a year).                                                                               x 12
       12b. The result is your annual income for this part of the form.                                                              12b.      $ 22.932.00

   13.Calculate the median family income that applies to you. Follow these steps:

       Fill in the state in which you live.

       Fill in the number of people in your household.

       Fill in the median family income for your state and size of household.                                                        13.       $ 75,460.00
       To find a list of applicable median income amounts, go online using the link specified in the separate
       instructions for this form. This list may also be available at the bankruptcy clerk's office.


   14.How do the lines compare?


       14a. tO Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
               Go to Part 3. Do NOT fill out or file Official Form 122A-2



       14b. U      Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                   Go to Part 3 and fill out Form 122A-2.



Official Form 122A-1                           Chapter 7 Statement of Your Current Monthly Income                                                  page 2
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Debtor 1     Randy                         Jason                    Adams                      Case number (if known)
             First Name      Middle Name         Last Name



   Part 3:     Sign Below

              By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.



                   Signature of Debtor                                                         Signature of Debtor 2

                  Date                                                                         Date
                          MM! DD •/ YYYY                                                              MM DD / YYYY

                   If you checked line 14a, do NOT fill out or file Form 122A-2.
                   If you checked line 14b, fill out Form 122A-2 and file it with this form.




Official Form 122A-1                         Chapter 7 Statement of Your Current Monthly Income                                                page 3
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                       UNITED STATES BANKRUPTCY COURT
                NORTHERN DISTRICT OF GEORGIA BANKRUPTCY COURT
                             ATLANTA DIVISION


In the Matter of:                                                   CASE NO.:

     Randy Jason Adams
                                                                       Chapter      7

                                              Debtor(s).

                              VERIFICATION OF CREDITOR MATRIX

        The above named debtor(s) hereby verify under penalty of perjury that the attached matrix listing of creditors

is true, correct and accurate to the best of the knowledge and belief of the debtor(s).


       Dated:
                                                               Randy         Adams, Si


                                                               , (Signature of Joint Debtor, if any)
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Wells Fargo Auto
P.O. Box 168048
Irving, TX 75016
M&T Bank
P.O. Box 1288
Buffalo, NY 14240

AUSTINCAPBK
8100 Shoal Creek
Austin, TX 78757

Avant
222 N. LaSalle St., Suite 1600
Chicago, IL 60601

Conn Credit Corp
P.O. Box 2358
Beaumont, TX 77704

AMEX
P.O. Box 981537
El Paso, TX 79998

Credit One Bank
P.O. Box 98872
Las Vegas, NV 89193

Dept ED/OSLA
525 Central Park Drive, Suite 600
Oklahoma City, OK 73105

OLLO/TBOM
P.O. Box 9222
Old Bethpage, NY 11804

SYNCB/PPC
P.O. Box 965005
Orlando, FL 32896

US Dep ED
P.O. Box 5609
Greenville, TX 75403

Wells Fargo
P.O. Box 14517
Des Moines, IA 50306
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Impact Rec Mng
11104W. Airport Blvd, Suite 199
Stafford, TX 77477

Sprint
PO Box 4191
Carol Stream, IL 60197

Paypal
P.O. Box 965005
Orlando, FL 32896

Chase Bank USA
P.O. Box 15298
Wilmington, DE 19850

Bank of Missouri
916 North Kings Highway
Perryville, MO 62775

Citi Bank/ Home Depot
P.O. Box 7032
Sioux Falls, SD 57117

Target National Bank
P.O. Box 673
Minneapolis, MN 55440

WebBank
215 State St Suite 1000
Salt Lake City, UT 84111

Convergent Outsourcing Inc
800 SW 39th St.
P.O. Box 9004
Renton, WA 98057

Midland Credit Management
350 Camino De La Reina #100
San Diego, CA 92108
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U. S. BANKRUPTCY COURT / NORTHERN DISTRICT OF GEORGIA / ATLANTA DIVISION

RECEIPT 401263224 (0J) OF 11/10/2020


ITEM     CODE   CASE          QUANTITY                        AMOUNT   BY

   1      7IN   20-71589              1                     $ 175.00   Check/MO
                Judge - unknown at time of receipt
                Debtor - RANDY JASON ADAMS


TOTAL:                                                      $ 175.00


FROM: Randy Jason Adams
      9576 Briarcreek Lane
      Jonesboro, GA 30238




                                     Page 1 of 1
                  Case 20-71589-pwb                  Doc 1     Filed 11/10/20 Entered 11/10/20 14:52:45                                  Desc
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   Case Number: 20-71589                                                 Name: Adams                                                    Chapter: 7

Please submit the following original documents to the Court for filing so that the case will proceed timely. If you would like to have a filed-
stamped copy of the documents, please submit an extra copy along with a self-addressed stamped envelope.

El Individual - Series 100 Forms                                                             •     Non-Individual - Series 200 Forms

 MISSING DOCUMENTS DUE WITHIN 7 DAYS                                                             Petition Deficiencies:
 CI Complete List of Creditors (names and addresses of all creditors)                            CI Last 4 digits of SSN
 CI Pro Se Affidavit (due within 7 days, signature must be notarized,                            CI Address 0 County
 or witnessed by a Court Intake Clerk, accompanied by a picture ID.)                             0 Type of Debtor
 1=1 Signed Statement of SSN (due within 7 days)                                                 O Chapter
                                                                                                 O Nature of Debts
   MISSING DOCUMENTS DUE WITHIN 14 DAYS                                                          El Statistical Estimates
   O Statement of Financial Affairs                                                              O Venue
   0 Schedules: A/B C D El F GHIJ 0 J-2 (different addressfor Debtor 2)                          O Attorney Bar Number
   CI Summary of Assets and Liabilities
   CI Declaration About Debtor(s) Schedules
                                                                                                              Case filed via:
   O Attorney Disclosure of Compensation
                                                                                          El Intake Counter by:
   CI Petition Preparer's Notice, Declaration and Signature (Form 119)
                                                                                               CI Attorney
   El Disclosure of Compensation of Petition Preparer (Form 2800)
                                                                                              1=1 Debtor - verified ID
   0 Chapter 13 Current Monthly Income
                                                                                               CI Other - copy of ID:
   O Chapter 7 Current Monthly Income
   El Chapter 11 Current Monthly Income                                                   El Mailed by:
   CI Certificate of Credit Counseling (Individuals only)                                     O Attorney
   CI Pay Advices (Individuals only) (2 Months)                                                   Debtor
   O Chapter 13 Plan, complete with signatures (local form)                                   1:1 Other:
   CI Corporate Resolution (Business Ch. 7 & 11)
                                                                                          CI Email [Pursuant to General Order 40-2020, this
   Ch.11 Business                                                                         petition was received for filing via email]
   O 20 Largest Unsecured Creditors
   CI List of Equity Security Holders                                                                  History of Case Association
   O Small Business - Balance Sheet                                                       Prior cases within 2 years: 12-59583 (balance)
   CI Small Business - Statement of Operations
   O Small Business - Cash Flow Statement
   CI Small Business - Federal Tax Returns                                                Signature:
                                                                                          Acknowledgment of receipt of Deficiency Notice
   MISSING DOCUMENTS DUE WITHIN 30 DAYS
   CI Statement of Intent — Ch. 7 (Individuals only)

Official and Local Bankruptcy Forms are available on the Court's website at: www.ganb.uscourts.gov. If filing bankruptcy without an
attorney, please read the information regarding Filing Bankruptcy without an Attorney at: www.uscourts.goviservices-forms/bankruptcy/filing-
without-attorney.

FILING FEE INFORMATION - if the required filing fees are not paid in full at the time of case filing, an Order will be forthcoming:
       CZ Paid $ 175.00 0 2g-Order Granting           0 3g-Order Granting 10-day finitial payment of $_____ due within 10 days)
          2d-Order Denying with filing fee of $ 160.00 due within 10 days El IFP filed (Ch.7 Individuals Only)
       CI No Application to Pay in Installments, Order Regarding Unpaid Case Filing Fee.

                  You may mail documents and filing fee payments (no personal checks accepted - cashier's check or money orders only to the address below.
                           All fee payments and documents filed with the Court must show the debtor's name and bankruptcy case number.
                                    **Failure to Comply may result in the dismissal of your case.**
                                                        UNITED STATES BANKRUPTCY COURT
                                                          75 Ted Turner Drive, SW, Room 1340
                                                                 Atlanta, Georgia 30303
                                                                     404-215-1000
 Intake Clerk:                     Date:   11/10/20                      Case Opener:                                      Date:
